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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,                                       CIVIL ACTION

 v.                                                  NO. 1:16-CV-03088-ELR

 STATE OF GEORGIA,

         Defendant.


 PLAINTIFF UNITED STATES’ RESPONSES TO DEFENDANT STATE OF
    GEORGIA’S STATEMENT OF ADDITIONAL MATERIAL FACTS

       Pursuant to Federal Rule of Civil Procedure 56 and Rule 56.1(B) of the Civil

Local Rules of Practice for the United States District Court for the Northern

District of Georgia, Plaintiff the United States of America hereby submits its

Responses to Defendant State of Georgia’s Statement of Additional Material Facts:

        I.     Additional Material Facts Regarding Georgia Department of
               Education

1.      The Georgia Department of Education (“GaDOE”) is the State Educational

        Agency for purposes of the IDEA. See 20 U.S.C. § 1401(32).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for partial summary judgment because it is

        improperly stated as a legal conclusion in violation of Local Rule 56.1(B).

        Further, the fact asserted is not material to the pending motion for partial
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       summary judgment. Finally, the fact asserted is inconsistent with the

       definitions contained in the GNETS Rule, according to which “State

       Education Agency (SEA)” is “[t]he term used in federal laws and

       regulations for the state education authority which in Georgia is the

       Georgia State Board of Education (SBOE).” Ga. Comp. R. & Regs. 160-

       4-7-.15(1)(g). The definitions in the GNETS Rule separately define

       GaDOE as “the state agency charged with the fiscal and administrative

       management of certain aspects of K-12 public education” whose

       “management is subject to supervision and oversight by the State Board of

       Education.” Ga. Comp. R. & Regs. 160-4-7-.15(1)(c).

2.     Code Sections 20-2-34 and 20-2-1 provide that GaDOE is administered by

       the State School Superintendent and the State Board of Education. O.C.G.A.

       §§ 20-2-34 (State School Superintendent), 20-2-1 (State Board of

       Education).

       RESPONSE: Objection. The fact asserted should not be considered for

       purposes of the motion for summary judgment because it is improperly

       stated as a legal conclusion in violation of Local Rule 56.1(B). The fact is

       denied in that neither of the Code Sections cited use the word “administer.”

3.     Code Section 20-2-152 provides that GaDOE is charged with, among other

       duties, adopting the “criteria used to determine eligibility of students for

       state funded special education programs.” O.C.G.A. §20-2-152(a).
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       RESPONSE: The fact asserted should not be considered for

       purposes of the motion for summary judgment because it is improperly

       stated as a legal conclusion in violation of Local Rule 56.1(B).

4.     The text of the Georgia State Constitution does not mention special

       education. Ga. Const. art. 8, § 1.

       RESPONSE: Objection. The fact asserted is not material to the

       pending motion for partial summary judgment. Nor does the cited

       evidence establish the fact asserted.

       II.   Additional Material Facts Regarding Georgia Department of
             Behavioral Health and Developmental Disabilities

5.     The Georgia Department of Behavioral Health and Developmental

       Disabilities (DBHDD) focuses on “state programs for mental health,

       developmental disabilities, and addictive diseases.” O.C.G.A. § 37-1-20(1);

       Deposition of Frank Berry at 89:12-19.

       RESPONSE: Denied in part. The cited excerpt of the Berry deposition

       transcript does not support the fact asserted. In the cited excerpt, Berry

       describes DBHDD’s mission as “leading an accountable and effective

       continuum of care to support Georgians with behavioral challenges and

       intellectual and developmental disabilities in a dynamic health care

       environment.” See Deposition of Frank Berry at 89:12-19. The Court may

       consider the remainder of this evidence for purposes of the summary

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       judgment motion.

6.     DBHDD frequently contracts with government and private providers of

       behavioral health services, including Community Service Boards (CSBs), to

       provide some behavioral health services to some of Georgia’s uninsured and

       Medicaid beneficiaries. Deposition of Judy Fitzgerald at 217:23-218:1.

       RESPONSE: Undisputed. The Court may consider this evidence for

       purposes of the summary judgment motion.

7.     DBHDD does not have responsibility for “all individuals who receive public

       services for mental health.” Deposition of Judy Fitzgerald at 49:16-21.

       RESPONSE: Denied. The statement is a quote from a section of the

       deposition of former Commissioner Judy Fitzgerald, and the State relies on it

       to imply that DBHDD does not have any type of responsibility for “all

       individuals who receive public services for mental health.” The statement

       does not support that implication for several reasons. First, it inaccurately

       blends the question and the answer, which appear as follows:

            Q. Does DBHDD have responsibility for all individuals in the State of
            Georgia who receive public services for mental health, developmental
            disabilities, and substance abuse disorder?

            A. No. We have responsibilities for the ones that we administer.
            Fitzgerald Dep. 49:16-21. (emphasis added).

       Further, the quote is from a portion of the deposition that discussed one type

       of responsibility, “budgetary responsibility”, and the Commissioner’s


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       response is properly understood as referring to budgetary responsibility.

       Fitzgerald Dep. 48:11-49:16. Finally, the Commissioner testified at her

       deposition that DBHDD and DCH together coordinate in developing service

       manuals describing all public services for mental health in Georgia.

       Fitzgerald Dep. 50:21-51:21. The dividing line for budgetary responsibility is

       primarily the type of insurance an individual has, with DBHDD assuming

       budgetary responsibility for uninsured individuals. Fitzgerald Dep. 53:5-

       54:8. Former Commissioner Frank Berry testified to the same effect at his

       deposition. Berry Dep. 146:13-148:8.

8.     DBHDD does not deliver direct services or care, but instead it contracts with

       its network of providers and CSBs to fund the delivery of services and care.

       Deposition of Frank Berry at 147:14-148:8; 167:16-18; 90:19-91:5;

       Deposition of Judy Fitzgerald at 217:17-20.

       RESPONSE: Undisputed in part. DBHDD does not provide direct

       services or care but provides such services under contract with its network

       of providers and community service boards. Denied in part as to the State’s

       mischaracterization of the cited evidence. The United States disputes that

       DBHDD does not “deliver” direct services or care, on the basis that the term

       “deliver” is vague and ambiguous in light of DBHDD’s funding and

       certification of service providers, including the Community Service Boards

       (“CSBs”).
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9.      An example is the Apex Program, a DBHDD initiative through which it

        contracts with providers that have partnered with local schools to offer some

        in-school behavioral health services. Deposition of Judy Fitzgerald at 62:23–

        63:5.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

10.     Not all children in the State of Georgia are the financial responsibility of

        DBHDD. Deposition of Judy Fitzgerald at 154:8-9.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

11.     DBHDD is only responsible for uninsured children that do not have any

        other coverage, and they have a limited amount of funding to support those

        children. Deposition of Frank Berry at 91:6-20; Judy Fitzgerald at 53:24-

        54:3; 231: 9-11.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

12.     DBHDD plays a limited role in ensuring that mental health services are

        readily available to children across the State of Georgia in their own

        communities because their funding supports only uninsured children.

        Deposition of Frank Berry at 184:13-20.


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  RESPONSE: Denied. As Georgia’s designated state authority for

  behavioral health services, DBHDD is responsible for overseeing and

  administering policies, programs, and services for people with mental

  illness, including—through the Office of Children, Young Adults and

  Families—children with behavior-related disabilities. Ga. Code Ann. §

  37-1-20; see also Ga. Code Ann. § 37-1-21; Ex. E, Deposition of Frank

  Berry (“Berry Dep.”) 165:11-166:13, 184:21-25; Ex. F, Deposition of

  Judith Fitzgerald (“J. Fitzgerald Dep.”) 52:21-53:19; 62:2-16. In that

  capacity, DBHDD plays an important role in ensuring that behavioral

  health services are accessible to children across Georgia in their own

  communities, including children enrolled in Medicaid or PeachCare for

  Kids for whom the Georgia Department of Community Health (“DCH”)

  rather than DBHDD is the primary payor of their publicly funded

  behavioral health services. Among other things, DBHDD designs and

  defines the publicly funded behavioral health services that are available

  to children and their families in Georgia; funds, oversees, and

  administers the Georgia Apex Program, through which the State seeks

  to deliver behavioral health services in certain school settings; contracts

  with the Georgia State University’s Center of Excellence to advance the

  development of effective behavioral health services for children,

  specifically including Intensive Customized Care Coordination (“IC3”);
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        and helps to lead the State’s efforts to implement its System of Care

        Plan, which acknowledges that “[a]ccess to an array of community-

        based services and supports is a core component of any functional

        behavioral health care system.” Deposition of Wendy Tiegreen

        (“Tiegreen Dep.”) 52:12-19; Deposition of Ann DiGirolamo

        (“DiGirolamo Dep.”) 16:16-17:16, 82:24-83:3, 92:16-21; J. Fitzgerald

        Dep. 62:2-63:9; 134:3-20; 2020 Georgia System of Care Plan; APEX

        Contract FY2020, ABH000004, US0013064 (ECF No. 438-2).

13.     DBHDD does not have any role in providing behavioral health services to

        GNETS Programs. Deposition of Frank Berry at 185:14-18; Judy Fitzgerald

        at 66:19-67:7; 119: 9-11.

        RESPONSE: Denied. As Georgia’s designated state authority for

        behavioral health services, DBHDD could have a larger role in providing

        behavioral health services to regional GNETS programs, but chooses not to.

        For example, DBHDD prohibits students that attend regional GNETS centers

        from receiving Apex services at the centers, regardless of whether those

        students are otherwise eligible for Apex services. See Ex. 10 (APEX 3.0

        Frequently Asked Questions, https://dbhdd.georgia.gov/be-supported/mental-

        health-children-young-adults-and-families/apex-3-faqs (“In which types of

        schools can Apex services be implemented?”) (last visited Oct. 18, 2023)).

        Dante McKay testified that DBHDD’s current approach regarding “the
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        availability of Apex services” to GNETS schools is: “If a school . . . is served

        by the Apex program and the school has a GNETS classroom or classroom

        setting . . . then the . . . approach would be that those services would be

        available to those GNETS-specific students, along with the general

        population.” March 9, 2023 McKay Dep. 103:2-15 (attached as Exhibit E to

        Plaintiff’s Motion to Exclude the Declaration of Dante McKay). For

        example, Lisa Oosterveen, Deputy Director of Aspire Community Service

        Board, testified that she provided behavioral health services to students who

        attended a GNETS classroom. See Oosterveen Dep. 23:3-13, 45:19-25,

        47:24-49:2.

14.     According to Dr. Stephanie Pearson, the Clinical Director of the Office of

        Children, Young Adults and Families (“OCYF”) for DBHDD, there is no

        direct relationship between DBHDD and GNETS. Deposition of Stephanie

        Pearson at 52:10-20; 53:9-18; Deposition of Wendy Tiegreen at 31:2-23.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.




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15.     Neither Dr. Pearson nor Dante McKay, OCYF’s Director, have any ongoing

        responsibilities with respect to GNETS and do not work with GNETS

        Program directors. Deposition of Stephanie Pearson at 73:11-18; Deposition

        of Dante McKay at 49:8-14.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

16.     To Dr. Pearson’s knowledge, no employee within OCYF provides training or

        technical assistance to GNETS staff. Deposition of Stephanie Pearson at

        78:14-16.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

17.     Further, as Clinical Director of OCYF, Dr. Pearson does not receive data or

        documents relating to enrollment in GNETS, or to the length of placement in

        GNETS. Deposition of Stephanie Pearson at 83:17-23.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

18.     Dr. Pearson does not receive data or documents relating to the availability,

        utilization, or the quality of behavioral health services to students enrolled in

        GNETS. Deposition of Stephanie Pearson at 83:24-84:10.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.
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19.     Dr. Pearson does not receive data or documents relating to staffing at

        GNETS or to coordination between GNETS Programs and community

        service providers in Georgia. Deposition of Stephanie Pearson at 84:11-17.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

20.     The text of the GNETS Rule does not mention DBHDD. See generally, Ga
        Comp. R. & Regs. 160-4-7-.15.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.




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        III.   Additional Material Facts Regarding the Georgia Department of
               Community Health

21.     The Georgia Department of Community Health (DCH) is the State Medicaid

        agency. See O.C.G.A. § 49-4-142.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

22.     It acts as an “insurance and regulatory body” for various healthcare

        providers throughout the State. Fitzgerald Dep. 64:20–65:1.

        RESPONSE: Undisputed. The Court may consider this evidence

        for purposes of the summary judgment motion.

23.     DCH’s involvement with GNETS is minimal to none as staff at DCH do not

        have duties or responsibilities with respect to the GNETS program.

        Deposition of Brian Dowd at 166:4-11; 168:13-20.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

24.     The text of the GNETS Rule does not mention DCH. See generally, Ga
        Comp. R. & Regs. 160-4-7-.15.

        RESPONSE: Undisputed.

        IV.    Additional Material Facts Regarding System of Care

25.     The Georgia General Assembly has “declare[d] its intention and desire to:

        (6) Develop a coordinated system of care so that children and adolescents


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        with a severe emotional disturbance and their families will receive

        appropriate educational, nonresidential and residential mental health

        services, and support services, as prescribed in an individualized plan.”

        O.C.G.A. § 49-5-220(a).

        RESPONSE:

        Undisputed. The Court may consider this evidence for purposes of the

        summary judgment motion.

26.     The General Assembly has not passed a law requiring implementation of a

        system of care.

        RESPONSE: Denied. O.C.G.A. § 49-5-220(a), quoted by the State

        above in Paragraph 25, refers to the opening section of a statute, § 49-5-

        220 et seq., which declares the intention and desire of legislature. The

        remaining sections are mandatory, including regarding the

        implementation of the System of Care plan and to prepare a plan for a

        system of care that: “shall be put into implementation by July 1, 1991.”

        O.C.G.A. § 49-5-223(d).




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27.     The Geogia General Assembly further stated that it “intends that” DBHDD

        have the primary responsibility for planning, developing, and implementing

        any system of care. O.C.G.A. § 49-5-220(b).

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

28.     The General Assembly has not passed a law requiring DBHDD have the

        primary responsibility for any system of care in Georgia.

        RESPONSE: Denied. O.C.G.A. § 49-5-220(a), quoted by the State

        above in Paragraph 25, refers to the opening section of a statute, § 49-5-

        220 et seq., which declares the “inten[tion]” of the General Assembly

        that DBHDD have the primary responsibility for “planning, developing,

        and implementing” the system of care. O.C.G.A. § 49-5-220(b). The

        remaining sections of the statute are mandatory, including regarding

        DBHDD’s role in the implementation of the System of Care plan,

        collection of data, and provision of annual reporting concerning the

        population of children and adolescents “with a severe emotional

        disturbance.” O.C.G.A. § 49-5-220(a); see O.C.G.A. § 49-5-220 et seq.

        Moreover, DBHDD has defined itself as “the state agency responsible

        for the administration, coordination, planning, regulation and

        monitoring of all components of the state public behavioral health and

        intellectual and developmental disability systems.” Georgia FY
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        2020/2021 Community Mental Health Services Block Grant Plan at 22

        (Exhibit 10, January 27, 2022 Deposition of Dante McKay).

        V.     Additional Material Facts Regarding the Provision of Educational
               Services in Georgia- Georgia is a Local Control State

29.     The Georgia Constitution delegates the “management and control” of each

        school system to a locally-elected board of education. Ga. Const. art. VIII, §

        5, ¶ II.

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly

        stated as a legal conclusion in violation of Local Rule 56.1(B). Also, this

        fact is denied in as much as the word “delegates” is not present anywhere in

        Ga. Const. art. VIII, § 5, ¶ II.

30.     The Supreme Court of Georgia has said, “the fundamental principle of

        exclusive local control of general primary and secondary (“K–12”) public

        education” applies. Gwinnett Cty. Sch. Dist. v. Cox, 289 Ga. 265, 266

        (2011).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B).

31.     The IDEA refers to these local boards as “local educational agencies” or

        “LEAs.” 20 USC § 1401(19); see also, Ga Comp. R. & Regs. 160-4-7-.15(1)
        (defining LEA for purposes of the GNETS Rule).
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        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

32.     Code Section 20-2-152 provides that LEAs, either directly or through

        RESAs, “provide special education programs for all eligible students with

        special needs who are residents of their local school systems” or RESAs.

        O.C.G.A. § 20-2-152(b).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B). Furthermore, this

        statement mischaracterizes O.C.G.A. § 20-2-152(b) which states, in full,

        “Local school systems shall, subject to any limitations specified in this Code

        section, provide special education programs for all eligible students with

        special needs who are residents of their local school systems, either by

        establishing and maintaining such educational facilities and employing such

        professional workers as are needed by these students or by contracting with

        other local school systems, regional educational service agencies, or other

        qualified public or private institutions for such services.”




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  33. Code Section 20-2-152 provides statutory authority for state funded,

  but locally operated, special-education programs like GNETS.

  RESPONSE: Objection. The fact asserted should not be considered for

  purposes of the motion for summary judgment because it is improperly

  stated as a legal conclusion in violation of Local Rule 56.1(B). Denied as

  incomplete inasmuch as Code Section 20-2-152 also outlines the many

  obligations of the State in operating special education programs like

  GNETS. Code Section 20-2-152(c)(1) states: “(c)(1) The State Board of

  Education shall provide for the funding which has been approved by the

  General Assembly for this purpose for special education programs for

  students with disabling conditions which are either of such low incidence or

  of such severity that it is unfeasible or impractical to provide needed

  educational services through programs offered by local school systems. The

  state board may provide such educational services with funds specifically

  approved by the General Assembly for this purpose by:

  (A) Providing grants directly to regional educational service agencies for

  provision of services;

  (B) Either directly contracting with or making grants to or authorizing local

  units of administration to contract with or make grants to suitable private or

  public institutions, inside or outside this state, for the provision of such

  services; provided, however, that the educational and related services of the

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        child must be provided by professionals, such as teachers, school

        psychologists, speech therapists, physical and occupational therapists, and

        audiologists who meet the certification or licensing standards of their

        profession in the state in which the institution is located;

        (C) Authorizing local units of administration to contract with suitable public

        agencies and departments, including institutions in which eligible children

        are confined and out-patient centers serving eligible children, inside and

        outside this state, for the provision of such services;

        (D) Entering into reciprocal agreements with other states or political

        subdivisions thereof for the provision of such services; or

        (E) Operating the Georgia School for the Deaf, the Georgia Academy for the

        Blind, the Atlanta Area School for the Deaf, and other special schools as

        approved by the General Assembly.

        (2) The state board may promulgate rules, regulations, and standards and

        establish the terms and conditions governing the provision of state aid

        provided for this purpose by the General Assembly under this subsection

        and perform any and all acts necessary or proper to carry out the provisions,

        intent, and purpose of this subsection.”

34.     Code Section 20-2-152 further provides that the State shall set “eligibility

        criteria” for such programs, but that “local school systems shall … provide

        special education programs for all eligible students with special needs,”
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        including by “establishing and maintaining such educational facilities and

        employing such professional workers as are needed by these students[.]”

        O.C.G.A. § 20-2-152(b).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B). Also, the fact is

        denied as incomplete as the quotes are partial and misleading. Section 10-2-

        152(b) states in full: “Local school systems shall, subject to any limitations

        specified in this Code section, provide special education programs for all

        eligible students with special needs who are residents of their local school

        systems, either by establishing and maintaining such educational facilities and

        employing such professional workers as are needed by these students or by

        contracting with other local school systems, regional educational service

        agencies, or other qualified public or private institutions for such services.”

        Importantly, the State left out of its quote the language “subject to any

        limitations specified in this Code Section.” Code Section 10-2-152(c)(1),

        which is quoted in full at our response to 33, above, outlines some of those

        limitations, including by delineating all the State’s obligations to provide for

        special education services in Georgia.

35.     GaDOE recognizes this principal of local authority. See, e.g., Deposition of

        Wina Low at 150:7–17 (GaDOE reinforces expectations and provides

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        supports to local agencies regarding their GNETS reintegration rates); Id. at

        167:13–168:2 (GaDOE provides guidance in areas like transition, academic

        achievement, and assistive technology but does not have the authority to

        issue mandates); Id. at 85:17–18; Deposition of Garry McGiboney at 48:18–

        49:7 (GaDOE cannot require public schools to offer mental health services

        but it can encourage and facilitate same).

        RESPONSE: Objection. The fact asserted should not be considered for

         purposes of the motion for summary judgment because it is improperly

         stated as a legal conclusion in violation of Local Rule 56.1(B). The

         statement appears to rely on and further assert an impermissible legal

         conclusion initially raised in paragraph 30.

36.     GaDOE encourages schools to offer mental health services as a method of

        increasing access to such services but it cannot require schools to do so.

        Deposition of Garry McGiboney at 48:18–49:7.

        RESPONSE: Denied. GaDOE can and does require schools to offer

        mental health services to students. Through the GNETS Rule, GaDOE

        does not encourage, but rather requires that a number of therapeutic

        services be provided in schools, which would include mental health

        services. GNETS Rule at 160-4-7-.15(2)(d). For example, GaDOE

        requires that “GNETS will be staffed to meet the needs of a unique

        population of students requiring intensive individualized supports,
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  including providing appropriate therapeutic services identified in the

  IEP.” 160-4-7-.15(d). It further requires that “GNETS staff will

  collaborate with professionals from a variety of agencies to enhance

  students’ social, emotional, behavioral and academic development based

  on their IEPs.” GNETS Rule 160-4-7-.15(2)(e). The GNETS Rule

  further states that GaDOE, as the SEA, “shall monitor GNETS to ensure .

  . . the delivery of appropriate instructional and therapeutic services.” Id.

  at (5)(a)(2)(iii).




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37.     It also encourages schools to work with CSBs to enhance access to mental

        health in schools. Deposition of Garry McGiboney at 39:19–23; 41:2–18.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

38.     Code Section 20-2-152 provides that GaDOE is authorized to provide grants

        to regional educational service agencies (“RESAs”) and local school districts

        for the provision of special education services. See O.C.G.A. § 20-2-

        152(c)(1).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B).

39.     Code Section 20-2-270 provides that RESAs are “not state agencies.”

        O.C.G.A. § 20-2-270(f).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B).

40.     Only one statute refers to the GNETS Program and not by name. O.C.G.A. §

        20-2-270.1(c).

        RESPONSE: Objection. The fact asserted is not material to the pending

        motion for summary judgment and should not be considered for purposes of

        the motion because it is improperly stated as a legal conclusion in violation
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        of Local Rule 56.1(B).

41.     The text of O.C.G.A. § 20-2-270.1 imposes no obligation on GaDOE or any

        other State agency.

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly

        stated as a legal conclusion in violation of Local Rule 56.1(B).

42.     The only operative language imposes duties on RESAs. O.C.G.A. § 20-2-

        270.1(a).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly

        stated as a legal conclusion in violation of Local Rule 56.1(B).

        VI.   Additional Material Facts Regarding the IEP Process

43.     Federal law provides that a child’s individualized education program (“IEP”)

        is based on the individual needs of the particular child. See 20 U.S.C. §

        1414(d)(1)(A).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly

        stated as a legal conclusion in violation of Local Rule 56.1(B).

44.     State and federal statutes provide that a child’s IEP team is responsible for

        determining the setting from the continuum of services required by IDEA in



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        which the child is to receive education and related services. Ga Comp. R. &

        Regs. 160-4-7-.15(4); Ga. Comp. R. & Regs. 160-4-7-.07; 34 C.F.R. §

        300.115; Deposition of Garry McGiboney at 75:5-10.

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly

        stated as a legal conclusion in violation of Local Rule 56.1(B).

45.     This decision is based on the goals and individual needs of the child and the

        least restrictive environment (“LRE”) in which they can reach those goals.

        Ga. Comp. R. & Regs. 160-4-7-.07; Deposition of Garry McGiboney at

        75:11-14; Deposition of Wina Low at 165:10–166:7.

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly

        stated as a legal conclusion in violation of Local Rule 56.1(B).

46.     The child’s IEP team determines whether the child should be recommended

        to receive education and related services through the GNETS Program.

        Deposition of Garry McGiboney at 27:14–28:3.

        RESPONSE: Denied as incomplete. GaDOE also has a role in determining

        when a child may be recommended to receive education and related services

        through the GNETS Program. The GNETS Rule sets forth the eligibility

        criteria by which IEP Teams are bound when considering a referral to the

        GNETS Program. See Ga. Comp. R. & Regs. 160-4-7-.15(3)(c).
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47.     LEAs are empowered with the discretion to offer GNETS services in

        settings ranging from fully integrated (“in the general education setting”) to

        wholly separate (“in a facility dedicated to GNETS”). Ga. Comp. R. & Regs.

        160-4-7-.15(4)(c).

        RESPONSE: Denied in that this statement mischaracterizes the cited

        evidence. The GNETS Rule does not support nor use terminology stating

        that the LEAs are, in any way, “empowered.” Nor does it use the words

        “fully integrated” or “wholly separate.” The GNETS Rule at 160-4-7-

        .15(4)(c) reads as follows and speaks for itself: “(c) The GNETS continuum

        of services by environment may be delivered as follows: 1. Services

        provided in the general education setting in the student's Zoned School or

        other public school. 2. Services provided in the student's Zoned School or

        other public school setting by way of a "pull out" from the general education

        setting for part of the school day. 3. Services provided in the student's

        Zoned School or other public school for part of the school day in a setting

        dedicated to GNETS. 4. Services provided in the student's Zoned School or

        other public school for the full school day, in a setting dedicated to GNETS.

        5. Services provided in a facility dedicated to GNETS for part of the school

        day. 6. Services provided in a facility dedicated to GNETS for the full

        school day.”
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48.     LEAs are charged with ensuring that GNETS services are provided the least

        restrictive environment for the student to obtain a free appropriate public

        education (“FAPE”). Ga. Comp. R. & Regs. 160-4-7-.15(5)(b)(1).

        RESPONSE: Denied as incomplete. The SEA also has a role to play in

        ensuring that students receive FAPE in the LRE. The IDEA makes clear

        that SEAs must take steps to “ensure” that LEAs are properly implementing

        IDEA requirements, including LRE. 20 U.S.C. § 1414(a). The GNETS

        Rule also states that “[t]he SEA shall [m]onitor GNETS to ensure

        compliance with Federal and state policies, procedures, rules, and the

        delivery of appropriate instructional and therapeutic services.” Ga. Comp.

        R. & Regs. 160-4-7-.15(5)(a)(2)(iii).

49.     On August 1, 2016, USDOE released a “Dear Colleague” letter (“USDOE

        Letter”) stating that, “when a child with a disability experiences behavioral

        challenges, including those that result in suspensions or other exclusionary




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  disciplinary measures, appropriate behavioral supports may be necessary to

  ensure that the child receives FAPE.” USDOE Letter at 6. The USDOE

  Letter is attached to Defendant’s Statement of Undisputed Material Facts as

  Exhibit V.

  RESPONSE: Undisputed that the United States Department of

   Education released a “Dear Colleague” letter on August 1, 2016. The Court

   may consider this evidence for purposes of the summary judgment motion.

   That Dear Colleague letter speaks for itself and this asserted fact is

   otherwise denied as incomplete. The quote cited by the State begins with

   the word “however” and is immediately preceded by the following

   language: “Research shows that school-wide, small group, and individual

   behavioral supports that use proactive and preventative approaches, address

   the underlying cause of behavior, and reinforce positive behaviors are

   associated with increases in academic engagement, academic achievement,

   and fewer suspensions and dropouts. In short, children are more likely to

   achieve when they are directly taught predictable and contextually relevant

   school and classroom routines and expectations, acknowledged clearly and

   consistently for displaying positive by parents for a meeting to review their

   child’s IEP. Public agencies are required under the statute and these final

   regulations to be responsive to parental requests for such reviews.” There is

   a footnote attached to this content that cites as sources of support two
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         separate articles co-authored by the United States’ expert, Dr. Robert

         Putnam.

50.     The USDOE Letter further states that “[a] determination of whether there is

        a denial of FAPE is a fact based determination, to be made on a case by case

        basis.” Ex. V at 9.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

51.     The USDOE Letter provides that “[a] determination of whether there is a

        denial of placement in the LRE is also a fact based determination.” Ex. V at

        10.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

52.     The USDOE Letter states that “[t]herefore, a failure to provide appropriate

        behavioral supports (because they are not offered or because teachers and

        other staff are not adequately trained to implement such supports) that

        results in the child not receiving a meaningful educational benefit may

        constitute a denial of FAPE.” Ex. V at 12.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

53.     Once a student begins receiving GNETS services, the LEA is charged with

        “monitor[ing]” the student’s IEP to “determine students’ progress and access
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  to services in a lesser restrictive environment.” Ga. Comp. R. & Regs 160-4-

  7-.15(5)(b)(8).

  RESPONSE: Denied as incomplete. The SEA also has a role in

  monitoring IEPs of students in the GNETS Program. The GNETS Rule

  states that “[t]he SEA shall [m]onitor GNETS to ensure compliance with

  Federal and state policies, procedures, rules, and the delivery of appropriate

  instructional and therapeutic services.” Ga. Comp. R. & Regs. 160-4-7-

  .15(5)(a)(2)(iii). GaDOE has previously required that GNETS directors

  conduct an IEP file review for every student in the GNETS Program and

  produce certain information about the students to the State. Cole Dep.

  369:1-20. To facilitate this process, GaDOE requested specific information

  and later provided a form with a drop-down menu. See GA05243260; see

  e.g., GA05250025. The form requires information related to each student’s

  disability, placement history, behavior interventions, history of restraint and

  seclusion, and the regional GNETS program’s compliance with the entrance

  criteria outlined in the GNETS rules, among other information. See e.g.,

  GA05250025; Cole Dep. 369:1-15; Cleveland Dep. 199:7-202:20.




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54.     The kinds of behavioral health services that should be provided to students

        with emotional and behavioral disabilities depends on the student’s IEP.

        Deposition of Garry McGiboney at 167:6–168:7.

        RESPONSE: Denied. This statement mischaracterizes the cited

        evidence. Dr. McGiboney was asked “[i]n your opinion as a

        psychologist focused on student mental health, what kinds of behavioral

        health services should be provided to students with emotional and

        behavioral disabilities in GNETS?” He answered, “Depends on what they

        need.” McGiboney Dep. 167:6-10. He elaborated, stating that the kinds

        of services students in GNETS would need “would depend on what the

        IEP calls for,” and he thought students in GNETS had IEPs that “require a

        high level of need.” Mr. McGiboney clarified that he “couldn’t fully

        answer” the question because he has “not worked in a GNETS.”

        McGiboney Dep. 167:6-23.

55.     An IEP team is made up of the classroom teacher, special education director,

        the student, the parent, other related service providers, LEA representatives,

        sometimes a building administrator, and any other invited related service

        provider or stakeholder that has a role in supporting the student. Deposition

        of Samuel Clemons at 327:13-17; Deposition of Brooke Cole at 401:2-9;

        Deposition of Derrick Gilchrist at 257:15-22. See also 20 U.S.C. §

        1414(d)(1)(B) (listing members of IEP team).
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        RESPONSE: Denied. In each of the three depositions cited, the makeup of

        the IEP Team was described differently and in a way that varies from

        requirements laid out in the IDEA. It is undisputed that the IDEA, as cited by

        the State, clearly lays out the makeup of an IEP Team as being composed of:

        “(i) the parents of a child with a disability; (ii) not less than 1 regular

        education teacher of such child (if the child is, or may be, participating in the

        regular education environment); (iii) not less than one special education

        teacher, or where appropriate, not less than 1 special education provider of

        such child; (iv) a representative of the local educational agency who-- (I) is

        qualified to provide, or supervise the provision of, specially designed

        instruction to meet the unique needs of children with disabilities; (II) is

        knowledgeable about the general education curriculum; and (III) is

        knowledgeable about the availability of resources of the local educational

        agency; (v) an individual who can interpret the instructional implications of

        evaluation results . . . ; (vi) at the discretion of the parent or the agency, other

        individuals who have knowledge or special expertise regarding the child,

        including related services personnel as appropriate; and (vii) whenever

        appropriate, the child with a disability.”

56.     When a student is being considered for receiving services through the

        GNETS Program, staff from the GNETS Program being considered attends


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        as well. Deposition of Celest Ngeve at 206:2-13.

        RESPONSE: Denied as incomplete. Ms. Ngeve testified that when a

        student is being considered for services at Rutland Academy GNETS, Ms.

        Ngeve, her coordinator, and “the potential caseload manager for that

        student” participate in “all IEP meetings where consideration of GNETS

        services is being discussed.” Deposition of Celest Ngeve at 201:16-22,

        202:5-17, 204:16-205:2, 205:16-206:13.

57.     The State has no role on an IEP team. Deposition of Haley Livingston at

        278:22-279:7; Deposition of Cassandra Holifield at 333:13-20; Deposition

        of Samuel Clemons at 327:18-22; Deposition of Brooke Cole at 401:2-9;

        Deposition of Derrick Gilchrist at 257:23-258:9; Deposition of Patricia Wolf

        at 277: 24-278:2; Deposition of Whitney Braddock at 232:6-12; see also 20

        U.S.C. § 1414(d)(1)(B).

        RESPONSE: Denied. GNETS Director Lisa Futch testified that she was

        aware of an instance where then-State Director of Special Education Zelphine

        Smith-Dixon was present as a member of an IEP Team. Deposition of Lisa

        Futch 349:24-350:14. In addition, GNETS Director Brooke Cole testified

        that, in some cases, a representative from the Georgia Department of

        Education will “set the parameters” and “facilitate the IEP” meeting.

        Deposition of Brooke Cole 401:10-402:1.



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58.     Parents are always involved in IEP team decisions. Deposition of Haley

        Livingston at 102:13-22.

RESPONSE: Denied. Parents are, by law, members of the IEP Team. See 20

        U.S.C. § 1414(d)(1)(B). However, the United States has uncovered myriad

        evidence that, as IEP Team members, the parents of students placed in the

        GNETS Program felt they were not involved in IEP Team decisions that

        result in their child being placed in – or remaining in – the GNETS Program.

        Their wishes that their child be served in a more integrated setting were not

        reflected in IEP Team decisions. Parents submitted complaints—both formal

        and informal—opposing their children’s educational placements in the

        GNETS Program and expressly seeking community educational placements.

        On at least one occasion the State’s GNETS Director directly received an

        informal complaint via email in which a parent expressly requested a

        community educational placement. See, e.g., GA05202437. Some parents

        filed due process complaints with the State to demand community educational

        placements for their children. See, e.g., GA05199933, GA05200951,

        GA05199710, GA05200962. Some of the due process complaints expressly

        alleged that the initial GNETS Program placement decisions for their children

        were made unilaterally, despite parents’ objections and explicit requests that

        their children remain in community educational placements. See, e.g.,

        GA05201028; GA05200951. Multiple IEPs produced by regional GNETS
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        programs memorialized parents expressing the desire that their children

        return to community educational placements. See, e.g., US0151559 at

        US0151673; US0184588 at US0184594; see also McCart Rep. at 154.

        Parents have contacted the United States to express their opposition to their

        students’ GNETS Program placements and desire for their children to attend

        community educational placements. See, e.g., US0012047; US0012763;

        US0011494; US0011511; US0011549 and US0011550. When parents raised

        concerns about the GNETS Program during IEP meetings, parents were often

        told that the GNETS Program was the only option for their children. See,

        e.g., McCart Dep. 56:14-57:20. Some parents lamented that they only

        initially agreed to their children being placed in the GNETS Program, rather

        than lodging an explicit complaint about the segregated placement at the

        outset, because they felt “bullied” by the educational placement process that

        led to their children’s GNETS Program placements. See, e.g., US0011522.

        Some parents shared that they believe more parents are not actively fighting

        GNETS Program placements and seeking community educational placements

        because they do not “know there is something better” or have “given up”

        advocating. See, e.g., US0011538.

59.     Federal law provides that a parent can request a meeting at any time and

        such request must be granted. See 20 USC 1414.

        RESPONSE: Objection. The fact asserted should not be considered
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        for purposes of the motion for summary judgment because it is

        improperly stated as a legal conclusion in violation of Local Rule

        56.1(B).

60.     A parent can unilaterally decline GNETS services. Deposition of Talithia

        Newsome at 196:24-197:1.

        RESPONSE: Denied. This statement mischaracterizes the cited

        evidence. In response to the question, “Can a parent or guardian

        unilaterally decline GNETS services,” Ms. Newsome testified that “a

        parent can decline any – yes.” Ms. Newsome did not testify that a

        parent can “unilaterally” decline GNETS services. In fact, the United

        States has uncovered myriad evidence that some parents of students

        placed in the GNETS Program believe their children were placed in

        GNETS unilaterally, despite the parents’ own objections and explicit

        requests that their children remain in community educational

        placements. See, e.g., GA05201028; GA05200951. Parents have

        contacted the United States to express their opposition to their students’

        GNETS Program placements and desire for their children to attend

        community educational placements. See, e.g., US0012047; US0012763;

        US0011494; US0011511; US0011549 and US0011550. When parents

        raised concerns about the GNETS Program during IEP meetings, parents

        were often told that the GNETS Program was the only option for their
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        children. See, e.g., McCart Dep. 56:14-57:20. Some parents lamented

        that they only initially agreed to their children being placed in the

        GNETS Program, rather than lodging an explicit complaint about the

        segregated placement at the outset, because they felt “bullied” by the

        educational placement process that led to their children’s GNETS

        Program placements. See, e.g., US0011522. Some parents shared that

        they believe more parents are not actively fighting GNETS Program

        placements and seeking community educational placements because

        they do not “know there is something better” or have “given up”

        advocating. See, e.g., US0011538.

61.     In some instances, parents have requested for their child to spend their entire

        academic career in GNETS. Deposition of Wina Low at 155:24–156:4.

        RESPONSE: Denied as incomplete. Wina Low testified that she has

        known of some students who have spent their entire academic career at

        GNETS and that “parents have requested that as well.” Low Dep. 155:24-

        156:4. She suggested that these requests stem from parents’ frustration and

        that parents whose children are in GNETS are “less likely [to] receive so

        many phone calls” from school about their children. Low Dep. 155:24-

        156:10. Although some parents may request that their children remain in

        GNETS, Ms. Low acknowledged that GNETS “wasn’t intended to be a

        place to stay forever.” Low Dep. 154:20-156:4.
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62.     No GNETS Director testified that they were aware of any instance in which

        the State compelled a GNETS Program to make a particular decision

        regarding a student’s placement. See e.g., Deposition of Derrick Gilchrist at

        258:10-13.

        RESPONSE: Denied. Brooke Cole, Director of Elam Alexander GNETS

        Academy, testified that the State’s GNETS Program Manager concluded that

        students on the Georgia Alternate Assessment were inappropriate for Elam

        Alexander and could be served in their home school systems. See

        GA00322208; Deposition of Brooke Cole 108:3-110:3, 111:9-18. As a

        result, Elam Alexander began removing such students from its program and

        reintegrating them into their home school systems. See GA00322208;

        Deposition of Brooke Cole 98:18-22, 107:6-19, 112:22-113:3.

63.     No GNETS Director testified that the State has encouraged their program to

        keep a student in GNETS when the IEP recommended otherwise. See e.g.,

        Deposition of Derrick Gilchrist at 258:14-16; Deposition of Whitney

        Braddock at 232:23- 233:1.

        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

64.     The length of time a student receives services through GNETS is dependent

        on what is in the student’s IEP and how quickly the student reaches the goals

        identified in the IEP. Deposition of Clara Keith Brown at 23:24-24:3;

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  Deposition of Samuel Clemons at 329:20-1.

  RESPONSE: Denied as incomplete. Because the GNETS Program is

  intended to provide students with therapeutic services and supports that will

  enable them to return to their home schools, the length of time a student

  remains in GNETS also depends on the nature of the therapeutic services

  and supports available to that student. See, e.g., GA00481564;

  GA00481478; Deposition of Clara Keith 26:5-27:24, 81:8-82:3, 86:10-87:8;

  Deposition of Celest Ngeve 55:18-56:1; Deposition of Wina Low 154:20-

  155:23. The lack of adequate therapeutic services and supports across

  GNETS is therefore a factor in a student’s length of stay in the Program.

  See, e.g., GA00197223 at GA00197227 (noting that because “many of the

  GNETS programs are operating below the expected clinical staff ratio for

  therapeutic services[,] . . . [s]ome of the programs are . . . challenged in

  providing the recommended amount of therapeutic supports to facilitate

  optimal turn around in students’ behaviors”); Deposition of Clara Keith

  132:10-139:20.




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65.     Exit criteria are developed by the IEP team. Wolf Dep. 81: 14-16. The IEP

        team determines the student’s IEP goals and goals they need to meet in order

        to exit the GNETS Program. Deposition of Patricia Wolf at 81: 7-13;

        Deposition of David Ackerman at 234: 10-21.

        RESPONSE: Denied as incomplete. In addition to IEP teams determining

        individual student goals, students in the GNETS program may be required

        to meet general exit criteria that apply to all students. See, e.g., Deposition

        of Talithia Newsome 214:19-224:5; Deposition of Patricia Wolf 81:20-

        82:14. For example, Patricia Wolf testified that one such “exit criteria that

        appl[ies] across the board to all GNETS of Oconee students” is that a

        student remain on the “green level” (i.e., displaying positive behavior) 80

        percent of the time before transitioning back to their home school.

        Deposition of Patricia Wolf 81:20-82:14; see also generally Deposition of

        Talithia Newsome 214:19-224:5 (discussing similar level system and its

        relation to student exit). Subject to this additional context, the Court may

        consider the evidence for purposes of the motion for summary judgment.

66.     Student reintegration into general education from a GNETS Program is

        entirely reliant on the student’s individualized IEP. Deposition of Samuel

        Clemons at 327:5-12.

        RESPONSE: Denied. Student reintegration into general education

        from a GNETS Program may occur for a number of reasons, including
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        reasons related to an individual student’s IEP. Student reintegration

        may also occur for other reasons. For example, numerous GAA students

        were reintegrated into general education after the GNETS Program

        Manager determined that GNETS was an inappropriate setting for GAA

        students and such students could be served by their home school

        systems. See Deposition of Brooke Cole 98:18-22, 107:6-19, 108:3-

        110:3, 111:9-18, 112:22-113:3.

        VII. Additional Material Facts Regarding GNETS

67.     The GNETS Rule provides GaDOE must receive and disburse the GNETS

        grants; and also “[a]dminister the grant funds” by specific acts of (1)

        developing “rules and procedures regulating the operation of the GNETS

        grant;” (2) notify fiscal agents of the grant allocation and approve the budget

        as part of the grant process; and (3) monitoring compliance. Ga. Comp. R. &

        Regs. 160-4-7-.15(5)(a)(1).

        RESPONSE: Objection. The cited evidence does not support the fact

        asserted. The GNETS Rule states that the “SEA”—which it defines as the

        Georgia State Board of Education, not GaDOE—“shall . . . [r]eceive and

        disburse funds appropriated by the Georgia General Assembly to support

        GNETS services,” “[a]dminister the grant funds . . . in collaboration with the

        GaDOE” by “[d]evelop[ing] rules and procedures regulating the operation of

        the GNETS grant,” “[n]otify[ing] the fiscal agents regarding each fiscal year’s

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        allocation and approv[ing] GNETS services budgets,” and “[m]onitor[ing]

        GNETS to ensure compliance with Federal and state policies, procedures,

        rules, and the delivery of appropriate instructional and therapeutic services.”

        Ga. Comp. R. & Regs. 160-4-7-.15(5)(a).

68.     These grant obligations are a requirement of IDEA. 20 U.S.C. § 1407(a).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B).

69.     20 U.S.C. § 1416(a)(1)(A) imposes these same grant obligations on the

        United States Department of Education.

        RESPONSE: Objection. The fact asserted should not be considered

        for purposes of the motion for summary judgment because it is

        improperly stated as a legal conclusion in violation of Local Rule

        56.1(B).

70.     The GNETS Rules describes the LEAs as responsible for (1) “ensur[ing]”

        that students are educated in the least restrictive environment; (2) convening

        IEP Teams that make recommendations to refer a student for GNETS




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        services; (3) monitoring students’ IEPs; (4) providing training to teachers

        who teach disabled children; (5) collaborating with community behavioral

        health service providers; and (6) allocating supports and resources to

        GNETS Programs. Ga. Comp. R. & Regs. 160-4-7-.15(5)(b).

        RESPONSE: Denied as incomplete. The GNETS Rule states that LEAs

        shall, among many other things, (1) “ensure that FAPE is delivered to

        students recommended for GNETS services in the least restrictive

        environment (LRE)”; (2) “[c]onvene IEP Team meetings as required by

        State Board of Education Rule 160-4-7-.06”; (3) “[m]onitor student IEP

        goals annually to determine students’ progress and access to services in a

        lesser restrictive environment”; (4) “[p]rovide ongoing professional

        learning opportunities and best practices for teachers to support students

        who exhibit social, emotional and/or behavioral challenges”; (5)

        “[c]ollaborate with community service providers to deliver mental health

        services and/or family support in students’ Zoned schools”; and (6)

        “[a]llocate supports and resources, which may include in-kind services to

        GNETS to facilitate flexible models of service delivery and best practices

        for equitable educational support as appropriate.” Ga. Comp. R. & Regs.

        160-4-7-.15(5)(b).

71.     There is no text in the GNETS Rule explicitly dictating a location where

        services must be provided.
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        RESPONSE: Objection. The fact asserted is not supported by any

        citation to evidence, as required by Local Rule 56.1(B)(1).

72.     The text of the GNETS Rule expressly reserves the decision of establishing

        the learning environments where GNETS Program services may be

        delivered to the LEAs. Ga. Comp. R. & Regs. 160-4-7-.15(b)(10) and (4)(c).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B).

73.     The GNETS Rule does not empower the State to decide where the “GNETS

        continuum of services” may be provided as between a fully integrated and

        wholly separate facility and classroom. Ga. Comp. R. & Regs. 160-4-7-

        .15(4)(c).

        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B).

74.     The evidence shows that it is the LEA or RESA that determine the setting in

        which to provide services through the GNETS Program. Decisions on

        whether to operate as a school-based site or self-contained facility are local

        decisions. Deposition of Shaun Owen at 155:13-20.

        RESPONSE: Denied as incomplete. Although the LEA or RESA may

        determine whether to operate a regional GNETS program within a school-
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        based site or in a self-contained facility, decisions about the location where

        a regional GNETS program provides GNETS services are not exclusively

        local decisions. See Ex. 1, Def. Resp. to RFA Nos. 81, 87, 89, 90; Exs. 100,

        102-105; Deposition of Sonia Shaun Owen 155:13-20; Deposition of

        William “Matt” Jones Dep. 189:4-190:6, 193:1-194:25; Deposition of Clara

        Keith Dep. 226:16-229:22, 230:14-232:18; Deposition of Michael Rowland

        Dep. 80:21-82:2, 83:5-88:1, 94:4-96:13, 111:21-116:9, 145:7-146:20; see

        also Deposition of Whitney Braddock Dep. 219:21-220:23, 221:17-222:2,

        222:15-22, 225:10-226:6. For example, the director of GNETS of Oconee

        testified that if her regional GNETS program were to move from an

        exclusively school-based program to a center-based program, “it would

        have to be approved by the Department of Education and Facilities.”

        Deposition of Patricia Wolf 60:7-17; see also GA00343802; Deposition of

        Patricia Wolf 56:20-60:17.

75.     The fiscal agent is responsible for the fiscal management and budgeting of

        GNETS funding. Ga Comp. R. & Regs. 160-4-7-.15(1)(b); see, e.g.,

        Deposition of Patricia Wolf at 61:17-20 (role of GNETS of Oconee’s fiscal




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        agent is to provide oversight in terms of budgets, and fiscal and personnel

        issues.)

        RESPONSE: Denied as incomplete. Regional GNETS programs must

        also submit their program budgets to GaDOE and have those budgets

        approved by GaDOE. GNETS Rule at ¶ (5)(a) (GNETS Rule charges SEA

        with approving program budgets); see also Ex. 1, Def. Resp. to RFA No.

        25; Deposition of Cassandra Holifield 104:10-106:18; Deposition of Amber

        McCollum 107:4-109:8; 214:9-15.

76.     No LEA or RESA has testified that they are incentivized by GaDOE to

        provide GNETS services in settings other than the general education setting.

        RESPONSE: Objection. The fact asserted is not supported by any citation

        to evidence, as required by Local Rule 56.1(B)(1). Nonetheless the fact

        asserted is denied. The GNETS Program funding formula does not include,

        as a factor in determining funding, the number of students for whom a

        regional GNETS program provides consultative services in the general

        education setting-that is, services directly to a student or that student's teacher

        or paraprofessional in the general education setting. See Deposition of

        Cassandra Holifield 277:9-281:9; Deposition of Whitney Braddock 69:2-12.

        Regional GNETS programs’ failure to receive funding for GNETS services

        provided in general education environments (i.e., consultative services)

        presents numerous difficulties, including a lack of funds to ensure regional
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        GNETS programs have enough staff both to serve the students with

        significant needs in GNETS environments and to push into the general

        education environment to deliver consultative services. See GA00347596;

        Deposition of Cassandra Holifield 277:9-281:9

77.     GNETS Program decisions are made at the local level. Decisions to close

        programs or locations are local decisions. Deposition of Vickie Cleveland at

        114:11-14.

        RESPONSE: Objection. The cited evidence pertains only to a regional

        GNETS program’s decision to move from a center-based structure to a

        school-based structure and does not support the assertion that GNETS

        Program decisions, writ broadly, are made at the local level. The cited

        evidence regarding decisions to close programs or locations being local

        decisions may be considered for purposes of the motion for summary

        judgment, with the qualification that decisions to close programs or

        locations are not exclusively local decisions. See Ex. 1, Def. Resp. to RFA

        Nos. 81, 87, 89, 90; Exs. 100, 102-105; Deposition of Sonia Shaun Owen

        155:13-20; Deposition of William “Matt” Jones 189:4-190:6, 193:1-

        194:25; Deposition of Clara Keith 226:16-229:22, 230:14-232:18;

        Deposition of Michael Rowland 80:21-82:2, 83:5-88:1, 94:4-96:13, 111:21-

        116:9, 145:7-146:20; see also Deposition of Whitney Braddock 219:21-

        220:23, 221:17-222:2, 222:15-22, 225:10-226:6. For example, the director
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        of GNETS of Oconee testified that her regional GNETS program

        transitioned from center-based to an exclusively school-based program

        after “[t]he Department of Education in Georgia basically told us that we

        would have to move out of the facility” and “[t]here was not another

        facility for us to move into, so the board decided that we should be spread

        out.” Deposition of Patricia Wolf 51:13-24; see also id. 51:13-52:11,

        54:25-55:23.

78.     Which counties a program will serve is a local decision. Deposition of Lisa

        Futch at 115:15-23; Deposition of Haley Livingston at 113:6-114:6.

        RESPONSE: Denied. GaDOE officials have participated in the decision

        whether a regional GNETS program may serve students in particular

        counties. See, e.g., Ex. 68 (Oconee GNETS Direction inquiring of

        GaDOE whether Elam Alexander Academy “can . . . serve Jasper County

        Students even though Jasper County falls under GNETS of Oconee

        catchment” and GaDOE responding “Jasper county is in the catchment

        area for the Oconee GNETS program, thus, students will need to receive

        services in their service area by the Oconee Program or in their local

        school district. Another concern would be the distance the Jasper county

        students would need to travel to receive services at Elam.”); Deposition of

        Patricia Wolf 216:2-217:15.

79.     Policies and procedures for GNETS Programs are made and changed at the
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        local level. Deposition of Haley Livingston at 60:9-61:7.

        RESPONSE: Objection. The cited evidence does not support the fact

        asserted. The cited deposition testimony pertains to a single regional

        GNETS program. See Deposition of Haley Livingston 60:9-61:7. As Ms.

        Livingston made clear: “I didn’t want to give the impression that I’m

        changing any kind of policies. I just change procedures within my

        building when I was speaking on that earlier. So just anything that needs

        to be changed in the way we do things in my building. So I guess that’s

        more a procedure-type thing than policy, and I wanted to clarify that.”

        Deposition of Haley Livingston 60:14-61:7. Nothing in the cited

        testimony indicates that the policies and procedures Ms. Livingston

        discussed include policies and procedures spanning multiple regional

        GNETS programs. See Deposition of Haley Livingston 60:9-61:7.

80.     Curriculum decisions are locally made decisions and GNETS Programs

        follow the curriculum of their local district. Deposition of Lisa Futch at

        237:12-238:4; Deposition of Cassandra Holifield at 30:20-31:17; Deposition

        of Wina Low at 63:15–64:14.

        RESPONSE: Denied. While some aspects of the curriculum at regional

        GNETS programs may reflect local decisions, the State mandates certain

        curricular interventions across regional GNETS programs. For example,

        regional GNETS programs are required to use i-Ready—a supplemental
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        curriculum—and to do so for a particular number of minutes each week.

        See, e.g., Deposition of Celest Ngeve 33:4-23, 253:1-15, 345:14-25.

81.     Thus, every Program does something different for their curriculum.

        Deposition of Lakesha Stevenson at 137:17-20.

        RESPONSE: Denied. While some aspects of the curriculum at regional

        GNETS programs may different from program to program, the State

        mandates certain curricular interventions across regional GNETS programs.

        For example, regional GNETS programs are required to use i-Ready—a

        supplemental curriculum—and to do so for a particular number of minutes

        each week. See, e.g., Deposition of Celest Ngeve 33:4-23, 253:1-15, 345:14-

        25.

82.     GNETS Directors are employees of the LEA/RESA and report to

        supervisors employed by the LEA/RESA. Deposition of Talithia Newsome

        at 52:15-53:23; Deposition of Haley Livingston at 11:16-20; 277:8-10;




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        Deposition of Cassandra Holifield at 332:16-19; Deposition of Derrick

        Gilchrist at 256:4-6; 19:10-18; Deposition of Brooke Cole at 24:5-13;

        Deposition of Celest Ngeve at 23:9-11.

        RESPONSE: Undisputed in part. The Court may consider this evidence

        for purposes of the summary judgment motion, except to the extent the

        evidence is read to preclude additional informal lines of reporting. Two

        regional GNETS program directors also identified the current GNETS

        Program Manager and GNETS Program Specialist as individuals to whom

        they report. See Deposition of Brooke Cole 25:6-2113, 26:8-15; Deposition

        of Talithia Newsome 54:25-55:8.

83.     GNETS Program Directors’ salaries are paid by either the LEA or RESA,

        depending on who the fiscal agent is. Deposition of Vickie Cleveland at

        147:5-10; Deposition of Haley Livingston at 277:13-14; Deposition of

        Whitney Braddock at 77: 16-20.

        RESPONSE: Undisputed in part. The Court may consider this evidence

        for purposes of the summary judgment motion, except to the extent the

        cited evidence is read to suggest that the funds originate with the LEA or

        RESA. GNETS Program Directors’ salaries are funded with monies

        from the GNETS State grant. See, e.g., Exs. 96, 107-108; Deposition of

        Samuel Clemons 149:24-150:6; Deposition of Brooke Cole 174:7-19,

        181:5-23; Deposition of Cassandra Holifield 50:5-51:13, 104:10-20,
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        114;1-6; Deposition of Celest Ngeve 266:11-16, 273:15-274:1;

        Deposition of Patricia Wolf Dep. 104:18-20.

84.     Similarly, all GNETS Program staffing and hiring decisions are determined

        and handled by the county. Deposition of Talithia Newsome at 107:2-111:2;

        Deposition of Haley Livingston at 277:8-12; 278:1-12; Deposition of Lisa

        Futch at 349:8-14; Deposition of Shaun Owen at 155:13-20; Deposition of

        Derrick Gilchrist at 254:14-255:5.

        RESPONSE: Denied as inaccurate and incomplete. The State provides

        regional GNETS programs with the Georgia Professional Standards

        Commission guidelines that outline the minimum requirements for

        personnel being hired into particular positions (i.e., teachers, counselors,

        social workers, paraprofessionals). See Deposition of Talithia Newsome

        111:24-114:7. In addition, the State establishes the approved staffing

        agencies and/or professional qualifications that regional GNETS programs

        receiving therapeutic grants must use when hiring therapeutic staff. See

        Exs. 118, 120, 126-128; Deposition of Clara Keith 140:8-143:5, 153:7-

        155:6; Deposition of Jacqueline Neal 80:6-83:8; Deposition of Patricia

        Wolf 141:6-144:2, 144:19-145:19, 147:13-149:2. In some instances, the

        State has played an even more substantial role, drafting job responsibilities

        for particular positions that regional GNETS programs have used to

        formulate job descriptions. See Ex. 128; Deposition of Patricia Wolf
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        147:13-149:2.

85.     The State has no role in the Programs’ staffing and hiring decisions.

        Deposition of Haley Livingston at 278:10-12; Deposition of Talithia

        Newsome at 111:24-112:4; Deposition of Cassandra Holifield at 332:12-15;

        147:6-18; Deposition of Celest Ngeve at 280:18-281:5.

        RESPONSE: Denied as inaccurate and incomplete. The State provides

        regional GNETS programs with the Georgia Professional Standards

        Commission guidelines that outline the minimum requirements for

        personnel being hired into particular positions (i.e., teachers, counselors,

        social workers, paraprofessionals). See Deposition of Talithia Newsome

        111:24-114:7. In addition, the State establishes the approved staffing

        agencies and/or professional qualifications that regional GNETS programs

        receiving therapeutic grants must use when hiring therapeutic staff. See

        Exs. 118, 120, 126-128; Deposition of Clara Keith 140:8-143:5, 153:7-

        155:6; Deposition of Jacqueline Neal 80:6-83:8; Deposition of Patricia

        Wolf 141:6-144:2, 144:19-145:19, 147:13-149:2. In some instances, the

        State has played an even more substantial role, drafting job responsibilities

        for particular positions that regional GNETS programs have used to

        formulate job descriptions. See Ex. 128; Deposition of Patricia Wolf

        147:13-149:2.

86.     Each fiscal agent has its own process for how it hires staff and the State is
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  not consulted before a director is selected. Deposition of Vickie Cleveland at

  146:14-23; Deposition of Celest Ngeve at 128:3-131:18.

  RESPONSE: Denied. The cited evidence does not support the fact

  asserted. Celest Ngeve’s deposition testimony does not address director

  selection at all. See Deposition of Celest Ngeve 128:3-131:18. Vickie

  Cleveland’s deposition testimony establishes that each fiscal agent has a

  process for how they hire their staff, that she does not participate in

  interviews of regional GNETS program directors, and that she is not

  consulted before a regional GNETS program director is selected. See

  Deposition of Vickie Cleveland 146:14-23. Ms. Cleveland testified that she

  did not know who else participated in such interviews. See Deposition of

  Vickie Cleveland 146:14-20.




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87.     GaDOE has no involvement or control over who is hired in GNETS

        Programs. Deposition of Wina Low at 195:16-17; Deposition of David

        Ackerman at 85:4-7.

        RESPONSE: Denied as inaccurate and incomplete. The State

        provides regional GNETS programs with the Georgia Professional

        Standards Commission guidelines that outline the minimum

        requirements for personnel being hired into particular positions (i.e.,

        teachers, counselors, social workers, paraprofessionals). See

        Deposition of Talithia Newsome 111:24-114:7. In addition, the State

        establishes the approved staffing agencies and/or professional

        qualifications that regional GNETS programs receiving therapeutic

        grants must use when hiring therapeutic staff. See Exs. 118, 120,

        126-128; Deposition of Clara Keith 140:8-143:5, 153:7-155:6;

        Deposition of Jacqueline Neal 80:6-83:8; Deposition of Patricia Wolf

        141:6-144:2, 144:19-145:19, 147:13-149:2. In some instances, the

        State has played an even more substantial role, drafting job

        responsibilities for particular positions that regional GNETS programs

        have used to formulate job descriptions. See Ex. 128; Deposition of

        Patricia Wolf 147:13-149:2.

88.     No GNETS Program has staff employed by GaDOE. Deposition of Vickie

        Cleveland at 147:11-14.
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        RESPONSE: Undisputed. The Court may consider this evidence for

        purposes of the summary judgment motion.

89.     The State of Georgia does not conduct performance evaluations of GNETS

        Directors or their staff. Deposition of Haley Livingston at 277:19-25;

        Deposition of Cassandra Holifield at 333:4-12.

        RESPONSE: Undisputed in part. The Court may consider this evidence

        for purposes of the summary judgment motion, except to the extent the

        cited evidence is read to suggest that the State does not conduct

        evaluations of the regional GNETS programs themselves through the

        GNETS Strategic Plan. See, e.g., Ex. 18 at GA00362009-GA00362010;

        Exs. 7, 15, 24-25; Deposition of Whitney Braddock 208:6-209:17, 210:5-

        14; Deposition of Samuel Clemons 250:12-251:9, 254:7-255:20;

        Deposition of Vickie Cleveland 158:24-159:10, 166:11-167:10, 210:5-18,

        217:20-219:8, 230:16– 231:14; Deposition of Brooke Cole 387:17-388:2,

        390:22-391:25; Deposition of Lisa Futch 93:20-95:18; Deposition of

        Derrick Gilchrist 246:4-247:6; Deposition of Cassandra Holifield 198:19-

        199:23, 200:15-202:4; Deposition of Clara Keith 90:22-91:6, 178:20-

        180:22, 181:7-183:22; Deposition of Haley Livingston 68:12-70:12,

        80:25-81:17; Deposition of Jacqueline Neal 23:21-24:13; Deposition of

        Celest Ngeve 288:3-289:16, 290:19-291:18, 304:8-305:22; Deposition of

        Lakesha Stevenson 46:10-23, 49:9-51:6.
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90.     Nor does the GNETS Program Manager evaluate GNETS Directors.

        Deposition of Vickie Cleveland at 146:24-147:1.

        RESPONSE: Undisputed in part. The Court may consider this evidence for

        purposes of the summary judgment motion, except to the extent the cited

        evidence is read to suggest that the State does not conduct evaluations of the

        regional GNETS programs themselves through the GNETS Strategic Plan.

        See, e.g., Ex. 18 at GA00362009-GA00362010; Exs. 7, 15, 24-25; Deposition

        of Whitney Braddock 208:6-209:17, 210:5-14; Deposition of Samuel Clemons

        250:12-251:9, 254:7-255:20; Deposition of Vickie Cleveland 158:24-159:10,

        166:11-167:10, 210:5-18, 217:20-219:8, 230:16– 231:14; Deposition of

        Brooke Cole 387:17-388:2, 390:22-391:25; Deposition of Lisa Futch 93:20-

        95:18; Deposition of Derrick Gilchrist 246:4-247:6; Deposition of Cassandra

        Holifield 198:19-199: 23, 200:15-202:4; Deposition of Clara Keith 90:22-

        91:6, 178:20-180:22, 181:7-183:22; Deposition of Haley Livingston 68:12-

        70:12, 80:25-81:17; Deposition of Jacqueline Neal 23:21-24:13; Deposition of

        Celest Ngeve 288:3-289:16, 290:19-291:18, 304:8-305:22; Deposition of

        Lakesha Stevenson 46:10-23, 49:9-51:6.

91.     GNETS students belong to their home school’s LEA. Deposition of Amber

        McCollum at 67:3-6; Deposition of Garry McGiboney at 178:9–13.

        RESPONSE: Denied. The cited evidence does not support the fact

        asserted. In particular, none of the cited testimony discusses GNETS
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        students’ “home school.”

92.     Facility maintenance and concerns are handled by the county. Deposition of

        Talithia Newsome at 71:25-73:11; Deposition of Lisa Futch at 238:5-15;

        Deposition of Cassandra Holifield at 286:15-24; Deposition of David

        Ackerman at 90:1-3; Deposition of Whitney Braddock at 230:17-21. Indeed,

        GNETS facilities are county-owned buildings. Deposition of Cassandra

        Holifield at 286:15-24.

        RESPONSE: Denied. The cited evidence does not support the factual

        assertion that all GNETS facilities are county-owned buildings. The cited

        evidence establishes only that “general education facilities where North

        Metro GNETS houses classrooms” are “owned by the LEAs.” Deposition of

        Cassandra Holifield 286:15-24. The Court may consider the evidence

        specific to North Metro GNETS for purposes of the motion for summary

        judgment. The Court may also consider the evidence that facility

        maintenance and concerns are handled by county school systems, except to

        the extent such evidence is read to suggest that the State plays no role in

        facility maintenance and concerns. See Ex. 1, Def. Resp. to RFA Nos. 69, 81,

        87, 89, 90; Exs. 99-105; Deposition of James “Ted” Beck Dep. 135:11-

        136:15, 139:12-141:19; Deposition of William “Matt” Jones 189:4-190:6,

        193:1-194:25; Deposition of Clara Keith 226:16-229:22, 230:14-232:18;

        Deposition of Michael Rowland 47:16-50:19, 78:7-79:20, 80:21-82:2, 83:5-
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        88:1, 94:4-96:13, 111:21-116:9, 145:7-146:20, 160:6-161:6; see also

        Deposition of Whitney Braddock 219:21-220:23, 221:17-222:2, 222:15-22,

        225:10-226:6.

93.     Facility layout and use is determined by the school. Deposition of David

        Ackerman at 95: 18-20; 139: 12-24.

        RESPONSE:

        Denied. The cited evidence does not support the fact asserted, which is

vague as to the particular facility and school to which it refers.




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94.     Bus service is determined, provided, and paid for by the LEA/RESA.

        Deposition of Talithia Newsome at 84:17-22; 85:2-6; 236:20-237:3;

        Deposition of Lisa Futch at 167:9-18; Deposition of Haley Livingston at

        153:4-11; Deposition of Celest Ngeve at 139:2-5; Deposition of David

        Ackerman at 19-21.

        RESPONSE: Denied in part. The cited deposition testimony of David

        Ackerman does not support the fact asserted. The fact asserted is

        otherwise undisputed to the extent the term “[b]us service” refers to

        bussing students in the GNETS Program to and from their assigned

        regional GNETS programs. Subject to this qualification, the Court may

        consider this evidence for purposes of the summary judgment motion.

95.     Bus concerns are, therefore, brought to the county. Deposition of Talithia

        Newsome at 86:12-87:17.

        RESPONSE: Denied. The cited evidence does not support the fact

        asserted, particularly to the extent the asserted fact is read to apply

        broadly to all regional GNETS programs.

96.     Restraint policies are approved by the local authority, not GaDOE.

        Deposition of Lisa Futch at 353:9-18.

        RESPONSE: Denied. The cited evidence does not support the

        fact asserted, particularly to the extent the asserted fact is read to

        apply broadly to all regional GNETS programs.
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97.     GNETS Programs who wish to collaborate with CSBs do so at the local

        level. For example, South Metro GNETS contracts directly with View Point

        Health for two clinicians to provide behavioral health services at South

        Metro GNETS. Deposition of Jennifer Hibbard at 74:24-75:14; 76:4-13.

        RESPONSE: Denied. The cited evidence does not support the fact asserted.

        In particular, the cited evidence does not establish that all regional GNETS

        programs that wish to collaborate with CSBs do so at the local level, as it

        pertains only to a single regional GNETS program. It is undisputed that

        South Metro GNETS contracts directly with View Point Health for two

        clinicians to provide behavioral health services at South Metro GNETS. The

        Court may consider this evidence regarding South Metro’s contract with

        View Point Health for purposes of the motion for summary judgment.

98.     Federal law requires states, including Georgia, to collect certain data. See 20

        U.S.C.A. § 1418(a).
        RESPONSE: Objection. The fact asserted should not be considered for

        purposes of the motion for summary judgment because it is improperly stated

        as a legal conclusion in violation of Local Rule 56.1(B).

99.     Plaintiff’s proffered expert, Dr. Amy McCart, acknowledges that there can

        be “appropriate” reasons to “segregate students.” Deposition of Amy McCart

        at 19:14-18; 21:5-15; 145:14-17; 183:13-21.

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  RESPONSE: Denied. The statement mischaracterizes the cited evidence

  or the cited evidence does not support the fact asserted. During her

  deposition, Dr. McCart was asked “do you believe that there is an

  appropriate role for a program like GNETS, ever?” and she responded “No,

  not for GNETS, specifically. If you’re asking me whether or not it’s

  appropriate to ever segregate students, yes.” Deposition of Amy McCart

  19:14-18. Dr. McCart later elaborated, saying “I have worked for many,

  many years, just to give you a little context, with students with a variety of

  very significant behavioral challenges and disabilities. And what I found to

  be the case is in very limited numbers, there are certain students who benefit

  from small environments that have very structured learning opportunities,

  and exposure to time in general education classrooms, that have less noise or

  stimuli in that environment, and that have access to highly trained

  specialized educators who can support their needs.” Deposition of Amy

  McCart at 21:2-15. Dr. McCart explained “there are a small number of

  students who require highly specialized teaching and behavior support.”

  Deposition of Amy McCart 144:2-145:17. Dr. McCart also said “[i]s it

  possible to have a segregated program for students with behavior-related

  disabilities, and still not have statewide systemic segregation, and have fair

  and equal access? Yes, as long as it is related specifically to effective

  learning environments that are matched to student need that are in line with
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      practices that are common in the field now.” Deposition of Amy McCart

      182:11-183:21.

100. Dr. McCart also acknowledges that, even if students with emotional or

      behavioral disabilities were provided with “the full array of supports and




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      services,” some would need to be educated away from the general education

      setting. Deposition of Amy McCart at 143:18-144:1.

      RESPONSE: Denied. The statement mischaracterizes the cited evidence

      or the cited evidence does not support the fact asserted. Dr. McCart stated,

      “[E]ven if the full array of supports and services were being provided,

      certainly there are some students, under certain conditions for certain

      periods of time, that do need placements in which there are smaller numbers

      of students and away from general education.” Deposition of Amy McCart

      142:4-144:1.

101. Plaintiff’s other proffered expert, Dr. Bob Putnam, concedes that some

      students may be afforded “with appropriate services at the appropriate

      intensity” and still need to “receive educational services … in a separate or

      segregated setting.” Putnam Dep. 63:9-16.

      RESPONSE: Undisputed.

      VIII. Additional Material Facts Regarding the Strategic Plan and
            GNETS Program Documents

102. The Strategic Plan was created by a collaboration of the GNETS Program

      Manager and GNETS Directors. Deposition of Clara Keith Brown at 177:11-

      178:6.

      RESPONSE: Denied as incomplete. The Strategic Plan was created as a

      collaboration between the GNETS Program Manager; a committee of

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      regional GNETS Directors; and various State personnel, including other

      personnel from GaDOE and personnel from DBHDD. See Ex. 1, Def. Resp.

      to RFA No. 129; Ex. 18 at GA00362006, GA00362008; Ex. 19 at

      GA00221994, GA00221996; Deposition of Whitney Braddock 206:10-

      207:2; Deposition of Vickie Cleveland 204:21-205:12; Deposition of Clara

      Keith 67:17-19, 94:20-95:6, 109:3-14, 177:8-178:6.

103. The ultimate decision as to the content of the Strategic Plan was a

      collaborative decision of the GNETS Program Manager and GNETS

      Directors. Cleveland Dep. 205:21–206:411.

      RESPONSE: Denied as incomplete. Clara Keith Brown testified

      that final decision making regarding the Strategic Plan involved

      State personnel -- specifically the GNETS Program Manager,

      Debbie Gay from GaDOE, and Clara Keith from DBHDD -- as well

      as the GNETS Directors on the Strategic Planning Committee.

      Deposition of Clara Keith 177:8-178:6.

104. The Strategic Plan is used by Programs to continue to reevaluate and self-

      assess their Programs, make changes as needed, and decide on their

      priorities for the upcoming year based on the needs identified by the

      assessment. See generally, Defendant’s Statement of Undisputed Material

      Facts, Ex. U at GA00362005-23; Deposition of Shaun Owen at 194:11-15.

      RESPONSE: Denied as incomplete. The regional GNETS programs use the

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     Strategic Plan for several purposes, including, but not limited to, the purposes

     listed in the cited testimony of Shaun Owen. Ex. 18 at GA00362009; see

     generally GA00362005-23. For example, another purpose set forth in the

     Strategic Plan is “to determine the need for professional learning and

     resources to drive improvement.” Ex. 18 at GA00362009.

105. The GNETS Program Manager and GNETS Program Specialist do not

     receive each Program’s Strategic Plan; they receive mid-year and end of year




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      summaries when the regional Program’s grant application is uploaded to the

      GaDOE portal. Deposition of Vickie Cleveland at 208:9-21; Deposition of

      Lakesha Stevenson at 150:23-151:8.

      RESPONSE: Denied as incomplete. The State has modified the manner

      through which Strategic Plan data is collected and assessed on several

      occasions, which is not reflected in the cited testimony. According to the

      Strategic Plan, “[a]t the end and/or beginning of each school year, all

      GNETS directors will be responsible for sharing the self-assessment

      ratings, improvement summaries, and the top 3 priority areas with key

      stakeholders (e.g., GaDOE, fiscal agents, parent groups, and advocates).

      GaDOE and the fiscal agents will use the improvement summary form and

      the action plan to provide GNETS directors with the necessary technical

      assistance and resources needed to make improvement in the top 3 priority

      areas.” Ex. 18 at GA00362010. Starting in 2022, GaDOE consolidated the

      strategic plan self-assessment submissions with the GNETS grant

      application process for regional GNETS programs. Deposition of Brooke

      Cole 389:22-390:10; 395:9-15; Deposition of Lakesha Stevenson 149:4-

      151:8. See also Deposition of Vickie Cleveland 206:25-207:19; 226:15-

      227:7.

106. The Programs rate themselves; GaDOE does not provide a rating.

      Deposition of Vickie Cleveland at 207:4-10; Deposition of Lakesha
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      Stevenson at 151:9-21.

      RESPONSE: Denied as incomplete. The State has modified the manner

      through which Strategic Plan data is collected and assessed on several

      occasions. In the past, this feedback has included each regional GNETS

      program’s final ratings on the various GNETS Strategic Plan components,

      as well as other action steps each regional GNETS program should take in

      the future. See Ex. 18 at GA00362008-GA00362010; Exs. 15, 29;

      Deposition of Samuel Clemons 250:24-251:9, 253:7-254:2; Deposition of

      Cassandra Holifield 201:21-202:4; Deposition of Celest Ngeve 295:16-

      297:7; Deposition of Lakesha Stevenson 46:10-23, 49:20-24. The Strategic

      Plan itself says “[t]he GaDOE-GNETS program manager/program

      specialist will complete the rating section with GNETS teams in the spring

      of each school year and review supporting evidence to validate ratings.”

      Ex. 18 at GA00362008. More recently, GaDOE has moved away from

      providing the regional GNETS programs with numerical scores, and instead

      provides “feedback on implementation based on the rubric rating”—that is

      ratings of “operational,” “emerging,” or “not evident.” See, e.g., Deposition

      of Vickie Cleveland 230:16– 231:14.

107. To the extent a Program is not meeting the goals laid out in the Strategic

      Plan, the State does not take any action beyond providing feedback and

      suggestions to the Programs for ways they can improve. Deposition of
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      Vickie Cleveland 218:13–220:2; Deposition of Lakesha Stevenson at

      153:11–154:10, 158:21–160:7.

      RESPONSE: Denied. According to a former member of the State

      Board of Education, the State has the authority—and has exercised its

      authority—to put a pause on regional GNETS programs’ funding when

      those programs fail to comply with their responsibilities. Deposition of

      Larry Winter Dep. 19:7-20:6, 158:3-159:11, 166:5-168:8.

108. At least one GNETS Program Director testified she completes the Strategic

      Plan self-assessment but does not turn it in. Deposition of Whitney

      Braddock at 210:12-18.

      RESPONSE: Denied as incomplete.

109. The GNETS Program Manager and GNETS Program Specialist do not

      provide feedback after a location visit. Deposition of Vickie Cleveland at

      183:7-20; Deposition of Lakesha Stevenson at 194:13-19.

      RESPONSE: Denied. Historically, the GNETS Program Manager and

      GNETS Program Specialist have provided feedback after visits to

      GNETS facilities as part of the “strategic plan review.” Those post-visit

      discussions occurred either on site or virtually. See Ex. 18 at

      GA00362010; Exs. 15, 24-25; Deposition of Whitney Braddock 208:6-

      209:17, 210:5-14; Deposition of Samuel Clemons 250:8-251:9, 254:7-

      255:20; Deposition of Brooke Cole 387:17-388:2, 390:22-391:23;
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     Deposition of Derrick Gilchrist 246:4-247:6; Deposition of Cassandra

     Holifield 198:19-199:23, 200:15-201:3; Deposition of Clara Keith

     178:20-180:22, 181:7-183:22; Deposition of Haley Livingston 68:12-

     70:12, 80:25-81:17; Deposition of Celest Ngeve 288:3-289:12, 290:19-

     291:518, 304:8-305:22; Deposition of Lakesha Stevenson 46:10-23,

     49:9-51:6.

110. The GNETS Program Manager looks at the Programs’ Strategic Plan self-

     assessments for what the Programs have done, what information and




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      artifacts they have presented, and may provide feedback. Deposition of

      Vickie Cleveland at 185:1-4; 214:20-24.

      RESPONSE: Denied as incomplete. Historically, feedback was an

      important part of the strategic plan review process and was provided

      alongside the discussion of action steps that each regional GNETS program

      could take in the future regarding implementation. See Ex. 7; Ex. 18 at

      GA00362008-GA00362010; Deposition of Samuel Clemons 250:24-251:9;

      Deposition of Vickie Cleveland 158:24-159:10, 166:11-167:10, 210:5-18,

      217:20-219:8; Deposition of Lisa Futch 94:15-95:18; Deposition of

      Cassandra Holifield 200:15-202:4; Deposition of Jacqueline Neal 23:21-

      24:13.

111. The Strategic Plan is not tied to anything, including the receipt of any

      funding. Deposition of Lakesha Stevenson at 154:9-10; 160:1-2.

      RESPONSE: Denied. The phrase “is not tied to anything” is vague

      and ambiguous. The Strategic Plan is a mandatory self-assessment

      and review process required by the State; regional programs cannot

      opt out. Deposition of Celest Ngeve 285:14-286:7; Deposition of

      Derrick Gilchrist 243:16-25; Deposition of Haley Livingston 69:17-

      70:12. Among other things, the State currently requires GNETS

      programs to submit components of the Strategic Plan as part of their

      grant application. See Deposition of Brooke Cole 389:22-390:10;
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      395:9-15; Deposition of Lakesha Stevenson 149:4-151:8.

112. A Program can still be funded by the grant even if the goals in the Strategic

      Plan are not met. Deposition of Vickie Cleveland at 219:9-12.

      RESPONSE: Undisputed in part. Although a program can still be funded

      by the grant even if the goals in the Strategic Plan are not let, a program

      may also have its funding paused. See Deposition of Larry Winter 166:5-

      168:8. Subject to this qualification, the Court may consider this evidence

      for purposes of the summary judgment motion.

113. The consideration for services forms were developed by a committee which

      included various GNETS Directors. Wolf Dep. 171:6-16; 185:4-186:2.

      RESPONSE: Denied as incomplete. GaDOE oversaw the committee of

      GNETS directors involved in developing the Consideration of Services

      packet and Request for GNETS consultation document. See Exs. 32, 40-

      43, 48-53; Deposition of Patricia Wolf 187:6-205:15; see generally

      Deposition of Brooke Cole 97:1-98:14; Deposition of Derrick Gilchrist

      228:5-233:6; Deposition of Celest Ngeve 192:13-193:6, 201:16-202:17,

      207:1-6, 220:6-24, 236:14-237:21.

114. Specifically, the GNETS Directors themselves created the “Consideration of

      Services” packet, “Request for GNETS consultation” document, and

      “Guidance and Planning Document for Student Integration from GNETS”

      document that they share and use for guidance. Deposition of Talithia
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     Newsome at 150:13-151:10; 180:16-22; Deposition of Cassandra Holifield

     at 279:8-18; Deposition of Vickie Cleveland at 124:23-125:10; 141:19-

     142:22; 128:18-21; Wolf Dep. at 185:4-186:2.

     RESPONSE: Denied as incomplete. The GNETS Program Manager, who

     assembled the committee to develop the first drafts of the Consideration of

     Services Forms, directed the committee to ensure that the forms were aligned

     to the State’s GNETS Rule, reviewed the Forms, determined the process for

     obtaining feedback on the Forms from other stakeholders, and approved the

     final versions of the Forms. Exs. 40, 43, 48-49, 51-53; Deposition of Patricia

     Wolf 185:4-189:18, 190:8-205:15.

115. The GNETS Program Manager agreed to the final versions in conjunction

     with the rest of the committee, as the forms themselves were formally

     approved by the Committee, not by the GNETS Program Manager. Wolf

     Dep. 185:23-187:5.

     RESPONSE: Objection. The cited evidence does not establish that the

     forms themselves were formally approved by the Committee and merely

     agreed to by the GNETS Program Manager. To the contrary, the GNETS

     Program Manager “directed the committee to ensure that the forms were

     aligned to the State’s GNETS Rule, reviewed the Forms, determined the

     process for obtaining feedback on the Forms from other stakeholders, and

     approved the final versions of the Forms.” Exs. 40, 43, 48-49, 51-53;
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  Deposition of Patricia Wolf 185:4-189:18, 190:8-205:15.




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116. There is no requirement by GaDOE to use these documents. Deposition of

     Talithia Newsome at 150:13-151:10; 180:16-22; Deposition of Cassandra

     Holifield at 279:8-18.

     RESPONSE: Denied. The cited evidence does not support the fact

     asserted. The deposition testimony provided by Cassandra Holifield

     confirms GaDOE’s expectation that regional GNETS programs follow the

     protocol set forth in the “Request for GNETS consultation” document.

     Indeed, the testimony references an email in which the GNETS Program

     manager writes that “[t]he GNETS continuation of services flow chart

     provides guidance on consult services. There is a request for consultation

     form in the packet. NM [North Metro GNETS] should follow this

     protocol.” Deposition of Cassandra Holifield 276:19-277:2, 279:8-

     280:17; see also GA00347596. More broadly, the referenced documents

     are consistently used across GNETS programs and understood to be

     requirements by regional GNETS program directors. See, e.g., Exs. 30-

     39; Deposition of Whitney Braddock 101:21-102:24, 103:15-104:3,

     107:11-110:10; Deposition of Samuel Clemons 51:21-52:6, 61:20-62:19;

     Deposition of Lisa Futch 313:2-314:23, 316:2-317:12, 350:23-352:6;

     Deposition of Derrick Gilchrist 228:5-233:6; Deposition of Jacqueline

     Neal 128:10-130:11; Deposition of Celest Ngeve 191:18-193:24, 195:21-

      198:5, 201:16-204:15, 220:11-222:9, 235:13-238:1, 313:25-316:22;
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      Deposition of Patricia Wolf 170:19-175:22.

117. Similarly, there is no requirement by GaDOE to use the “Guiding Questions

      for Consideration of GNETS Services” document or the GNETS Operations

      Manual which are also guidance documents. Deposition of Cassandra

      Holifield at 252:9-14; Deposition of Talithia Newsome at 162:13-17.

      RESPONSE: Denied. The cited evidence does not support the fact asserted.

      Although Talithia Newsome testified that she was under no requirement to use

      the Guiding Questions for Considerations of GNETS, she acknowledged that

      the questions appearing on the form reflect mandatory eligibility criteria for

      placement in GNETS outlined in the GNETS State Rule. See Deposition of

      Talithia Newsome 159:12-21, 162:13-174:23. Cassandra Holified testified that

      the GNETS Operations manual “was basically a guidance document that came

      from the DOE on how to fill out some of the reports, like you pulled up today,

      about the data management tool, The State Board Rule, and like how to code

      different things in the different meetings.” Deposition of Cassandra Holifield

      252:9-14. Nothing in her testimony, however, indicates that regional GNETS

      programs had authority to fill out reports, the data management tool, or the

      relevant coding in ways inconsistent with the Operations Manual. See id.

      Similarly, the testimony does not establish that regional GNETS programs

      could depart from the Operations Manual’s guidelines regarding compliance

      with the GNETS State Board Rule. See id.
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118. In fact, GaDOE does not require use of any specific documents related to

      consideration of services. Deposition of Vickie Cleveland at 128:4-129:15.

      RESPONSE:        Denied.    The Consideration of Services packet is

      consistently used across GNETS programs and understood to be a

      requirement by regional GNETS program directors. See, e.g., Exs. 30-39;

      Deposition of Whitney Braddock 101:21-102:24, 103:15-104:3, 107:11-

      110:10; Deposition of Samuel Clemons 51:21-52:6, 61:20-62:19;

      Deposition of Lisa Futch 313:2-314:23, 316:2-317:12, 350:23-352:6;

      Deposition of Derrick Gilchrist 228:5-233:6; Deposition of Jacqueline Neal

      Dep. 128:10-130:11; Deposition of Celest Ngeve 191:18-193:24, 195:21-

      198:5, 201:16-204:15, 220:11-222:9, 235:13-238:1, 313:25-316:22;

      Deposition of Patricia Wolf 170:19-175:22.

      IX.   Additional Material Facts Regarding the Roles of GNETS
            Program Manager and GNETS Program Specialist

119. When the role that ultimately became the GNETS Program Manager was

      created, Clara Keith Brown wanted to make sure the person hired knew the

      State did not control or administer GNETS; that the GNETS Programs were

      independent of GaDOE in that they have their own directors who did not

      report to anyone at GaDOE; and that GaDOE has a State Board rule that

      GaDOE provides implementation guidance on. Deposition of Clara Keith


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     Brown at 85:16-25.

     RESPONSE: Denied as incomplete. The testimony cited in paragraph

     331 is one among several statements made by Clara Keith Brown regarding

     information that she sought from candidates during the GNETS Program

     Manager interview process. For example, in response to the question that

     elicited the cited testimony (“What is the State’s role in implementing the

     GNETS program”), Ms. Keith Brown also stated that she wanted the

     candidate to know that “while you’re not supervising the directors directly,

     the State has a Board of Education rule and GNETS have to abide by that

     rule.” Deposition of Clara Keith 85:9-86:6.

120. The GNETS Program Manager and Specialist are not there for day-to-day

     implementation of the program. Deposition of Vickie Cleveland at 169:18-

     22.

     RESPONSE: Denied. The State mischaracterizes the cited evidence.

     Ms. Cleveland was asked the following question: “What steps are taken by

     GaDOE if a regional GNETS program is not complying with the Board

     rule?” Deposition of Vickie Cleveland 169:12-14. The question was not

     directed specifically at whether the GNETS Program Manager and

     Specialist are present for day-to-day implementation of the program.

     Further, in response to this question, Ms. Cleveland responded: “I have

     not – I’m trying to think. I cannot think of any examples of where I have
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  seen noncompliance with the Board rule. I don’t – again, we’re not there

  for every day-to-day implementation of the program, but for what I do

  look at, I have not seen any noncompliance that I can recall specific to the

  Board rule.” Deposition of Vickie Cleveland 169:15-22 (emphasis added).

  Ms. Cleveland only disavows that she is not present for “every” aspect of

  the day-to-day implementation of the program, not that she is never

  involved with day-to-day implementation of the program. Finally, the

  record evidence offers numerous examples where the GNETS Program

  Manager and Program Specialist have been involved in matters related to

  the day-to-day implementation of the program. See, e.g., ECF No. 395,

  Exs. 67-72; Deposition of Lisa Futch 118:10-122:17, 241:17-245:6,

  245:25-248:23; Deposition of Haley Livingston 233:22-239:22; see also

  Exs. 73-86; Deposition of Whitney Braddock 116:11-12, 116:21, 117:13-

  118:9; Deposition of Samuel Clemons 220:19-225:20; Deposition of

  Brooke Cole 33:6-11, 34:5-21, 108:3-12, 108:21-111:11, 115:14-117:5,

  120:11-121:19; Deposition of Derrick Gilchrist 58:16-59:4, 59:23-64:15,

  209:3-17, 210:1-211:14; Deposition of Celest Ngeve 231:11-233:25,

  247:24-248:17; Deposition of Lakesha Stevenson Dep. 175:23-176:10,

  177:16-180:17; Deposition of Patricia Wolf 213:21-215:20, 216:2-217:15.




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121. They do not provide consultation regarding improvement to the GNETS

     Programs. Deposition of Lakesha Stevenson at 48:23-49:1.

     RESPONSE: Denied. The cited testimony is incomplete in that it

     comes from Ms. Stevenson’s testimony about her job responsibilities

     related to GaDOE’s consultation to regional GNETS programs to

     “improve the GNETS Strategic Plan.” Ex. 421, Deposition of Lakesha

     Stevenson 46:10-23, 47:19-49:1. However, the strategic plan itself

     states that regional GNETS programs and GaDOE also use the

     document “to determine the need for professional learning and

     resources to drive improvement,” which could reasonably be

     understood as improvement to the program. See Ex. 18 at

     GA00362009. Further, in several instances, statewide GNETS

     personnel have provided consultation and direction to the regional

     GNETS programs regarding ways that they can improve their program

     operations. See, e.g., Exs. 67-73; Deposition of Lisa Futch 241:17-

     245:6, 245:25-248:23; Deposition of Haley Livingston 233:22239:22;

     see also Exs. 73-86; Deposition of Whitney Braddock 116:11-12,

     116:21, 117:13-118:9; Deposition of Samuel Clemons 220:19-225:20;

     Deposition of Brooke Cole 33:6-11, 34:5-21, 108:3-12, 108:21-111:11,

     115:14-117:5, 120:11-121:19; Deposition of Lisa Futch 118:10-122:17;

     Deposition of Derrick Gilchrist 58:16-59:4, 59:23-64:15, 209:3-17,
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     210:1-211:14; Deposition of Celest Ngeve 231:11-233:25, 247:24-

      248:17; Deposition of Lakesha Stevenson 175:23-176:10, 177:16-

      180:17; Deposition of Patricia Wolf 213:21-215:20, 216:2-217:15.

122. Nor do they provide recommendations regarding appropriateness of

      GNETS Programs’ therapeutic interventions or classroom instruction.

      Deposition of Lakesha Stevenson at 113:2-5; 112:2-5.

     RESPONSE: Denied. The statement mischaracterizes the cited evidence.

     The GNETS Program Manager provides recommendations to regional

     GNETS Programs regarding matters related to the appropriateness of

     therapeutic interventions and classroom instruction. See, e.g., Exs. 77, 81-

     83, Deposition of Lisa Futch 241:17-245:8, 245:25-248:23; Deposition of

     Brooke Cole 33:6-34:21, 108:3-12, 108:21-111:11, 115:14-121:19.

123. They do not provide recommended changes or feedback on reintegration

      data because the decisions are local and the Program Manager cannot make

      decisions or recommendations for what IEP teams are going to recommend

      for their students. Deposition of Vickie Cleveland at 136:12-137:14.

      RESPONSE: Denied. The statement mischaracterizes the cited evidence.

      Cleveland testified that she reviews the regional GNETS programs’

      reintegration data as part of their grant application submissions and

      discusses the data with GNETS Directors during their strategic plan

      reviews. Deposition of Vickie Cleveland 133:21-136:5. Although
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     Cleveland testified that she has not recommended changes specific to the

     student reintegration data, she expressly states that she provides feedback

     to the GNETS Directors regarding this data. Deposition of Vickie

     Cleveland 136:12-137:14.

124. They do not look at compliance with Functional Behavior Assessment

     (FBA) or Behavior Improvement Plan (BIP) requirements. Deposition of

     Vickie Cleveland at 172:18-25.

     RESPONSE: Denied. As part of the IEP File Review process in or

     around November 2020, the State created a GaDOE Student Information

     Checklist that required GNETS Directors to submit information to

     GaDOE about individual GNETS students, including whether the

     student has an FBA or BIP prior to entering GNETS and their most

     current FBA and BIP dates. Ex. 387; Deposition of Vickie Cleveland

     194:3-20; 198:4-203:22. In addition, the State oversees the

     implementation of the Strategic Plan, which includes a “Behavioral

     Support and Therapeutic Services” component that requires, among

     other things, that GNETS Directors implement interventions and

     practices that include the use of FBAs and BIPs. See ECF No. 395, Ex.

     18 at GA00362012.

     X.    Additional Material Facts Regarding GNETS Funding

125. LEAs who choose to apply for and receive GNETS grants are given broad

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      discretion on where they can provide services, ranging from fully integrated

      to wholly separate settings. Ga. Comp. R. & Regs. 160-4-7-.15(4)(c);

      Deposition of Shaun Owen at 155:13–20; Deposition of Vickie Cleveland at

      114:11–14.

      RESPONSE: Denied as incomplete. The GNETS Program funding

      formula does not include, as a factor in determining funding, the number of

      students for whom a regional GNETS program provides consultative

      services in the general education setting—that is, services directly to a

      student or that student’s teacher or paraprofessional in the general education

      setting. See Deposition of Cassandra Holifield 277:9-281:9; Deposition of

      Whitney Braddock 69:2-12. Regional GNETS programs’ failure to receive

      funding for GNETS services provided in general education environments

      (i.e., consultative services) presents numerous difficulties, including a lack

      of funds to ensure regional GNETS programs have enough staff both to

      serve the students with significant needs in GNETS environments and to

      push into the general education environment to deliver consultative

      services, and thus influences regional programs’ decision regarding where

      to offer services. See GA00347596; Deposition of Cassandra Holifield

      277:9-281:9.

126. The State must receive approval from the United States Department of

      Education for its use of IDEA discretionary funds on the GNETS Program.
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      30(b)(6) Deposition of Rusk Roam at 28:12-29:15; 30:15-31:5. See also,

      July 1, 2023 letter from United States Department of Education to Richard

      Woods “approv[ing] Georgia’s application for Federal fiscal year (FFY)

      2023 funds under Part B of the Individuals with Disabilities Education Act

      (IDEA Part B)” and explaining the bases of the approval. The letter is

      attached hereto as Exhibit 1.

      RESPONSE: Objection. The cited evidence does not support the fact

      asserted. Although Rusk Roam testified that “the State has to submit an

      application to US [Department of] Ed[ucation], and in this application I

      believe it details out how we will spend those discretionary funds,” he later

      acknowledged “I do not take part in the application process.” 30(b)(6)

      Deposition of Rusk Roam at 28:12-29:6. Nowhere does Mr. Roam testify

      that the State must receive approval from the United States Department of

      Education for its use of discretionary IDEA funds on the GNETS Program.

      See generally id. at 28:12-29:15; 30:15-31:5. Similarly, the letter from the

      United States Department of Education approving Georgia’s FY 2023

      application for Part B IDEA funds does not mention the GNETS Program,

      nor does it contain a copy of the State’s application or any other information

      sufficient to determine whether the application specifically mentions the

      GNETS Program. See Def. Statement of Additional Material Facts Ex. 1.

127. Indeed, the federal Secretary of Education is statutorily charged with
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      “monitor[ing]” a state’s use of IDEA funds. 20 U.S.C. § 1416(a)(1).

      RESPONSE: Objection. The fact asserted should not be

      considered for purposes of the motion for summary judgment

      because it is improperly stated as a legal conclusion in violation of

      Local Rule 56.1(B).

128. LEAs help fund the GNETS Program. See Plaintiff’s Ex. 91 at

      GA00054567.002.

      RESPONSE: Denied to the extent the State asserts that all LEAs help fund

      the GNETS Program. One GNETS director testified, for example, that from

      approximately 2010 to 2022, her regional GNETS program had not received

      any local funds to support staff positions. See GA00794101; Deposition of

      Patricia Wolf Dep. 133:1-11, 134:13-137:17.

129. In addition, local funds are contributed from LEAs in the form of in-kind

      services. Deposition of Derrick Gilchrist at 255:6-256:3; Deposition of Lisa

      Futch at 237:12-238:20.

      RESPONSE: Undisputed. The Court may consider this evidence for

      purposes of summary judgment.

130. Many staff positions are funded by the county. Deposition of Talithia

      Newsome at 115:16-117:2; 118:20-22; 123:6-127:7; Deposition of

      Cassandra Holifield at 55:8-11; 133:21-23.

      RESPONSE: Denied. The cited evidence does not support the fact asserted.
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      Ms. Newsome testified that the LEA “serves as the flowthrough” for position

      funding (Deposition of Talithia Newsome 117:2), and even assuming the

      LEAs fund the positions identified, many of the service providers are not

      “staff” but rather provide in-kind services such as nursing, training, or IT

      support. Dr. Holifield’s testimony as cited does not support what they cite it

      for. The States cites it to suggest that that there were “probably around a

      hundred, 150” “teachers and paras” within the GNETS Program funded by

      LEAs. Deposition of Cassandra Holifield at 55:8-11. However, this cannot

      be true as just prior to this statement, Dr. Holifield testified that there “were

      probably about 90” staff members on payroll at North Metro regional GNETS

      Program. The second passage cited from Dr. Holifield’s deposition does not

      involve a discussion of personnel or funding at all. Other directors testified

      that few, if any, of their staff were funded by the LEAs they serve. E.g.,

      Deposition of Whitney Braddock 83:4-24, 204:25-205:10 (listing the subset

      of LEAs that contribute funds to offset costs for a few staff members).

131. GNETS Programs must get budget approval from their fiscal agents.

      Deposition of Cassandra Holifield at 105:24-106:6.

      RESPONSE: Denied as incomplete to the extent the State suggests that

      fiscal agents and regional GNETS programs have exclusive control over how

      to spend the GNETS grant funds. Indeed, Dr. Holifield further testified that

      regional GNETS program budgets must get reviewed and approved by State
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     personnel at GaDOE. Deposition of Cassandra Holifield 105:24-106:18. In

     addition, some expenditures require approval by the State even after the funds

     have been turned over to the fiscal agent. See, e.g., Deposition of Whitney

     Braddock 25:25-26:11 (certain program purchases need approval through

     GaDOE); Deposition of Amber McCollum 206:20-209:7 (State denied

     regional GNETS program and LEA authority to use program funds to make

     purchase designed to help get GNETS students into the community).

132. Some RESAs prepare and handle their respective GNETS Programs’

     budgets. See, e.g., Deposition of Haley Livingston at 118:9-10; 199:25-




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      200:4; 229:12-18 (explaining Harrell Learning Center’s RESA prepares its

      budget).

      RESPONSE: Undisputed that at least one regional GNETS program

      director testified that someone at the RESA that serves as the program’s

      fiscal agent handles the program’s budget. The Court may consider this

      evidence for purposes of the summary judgment motion.

133. The fiscal agent is responsible for the fiscal management and budgeting of

      GNETS funding. Ga Comp. R. & Regs. 160-4-7-.15(1)(b); see, e.g.,

      Deposition of Patricia Wolf at 61:17-20 (role of GNETS of Oconee’s fiscal

      agent is to provide oversight in terms of budgets, and fiscal and personnel

      issues.)

      RESPONSE: Denied as incomplete. Regional GNETS programs must

      also submit their program budgets to GaDOE and have those budgets

      approved by GaDOE. Ga Comp. R. & Regs. 160-4-7-.15(5)(a) (GNETS

      Rule charges SEA with approving program budgets); see also Ex. 1, Def.

      Resp. to RFA No. 25; Deposition of Cassandra Holifield 104:10-106:18;

      Deposition of Amber McCollum 107:4-109:8; 214:9-15.

134. GaDOE is a flowthrough agency for state and federal funds to the fiscal

      agent, either the LEA or RESA as the case may be. Deposition of Shaun

      Owen at 154:22-23.

      RESPONSE: Denied as incomplete. As an initial matter, it is unclear
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      what is meant by the term “flowthrough agency” and what significance

      that term has with respect to the United States’ claims. The cited

      sentence has been plucked from a more fulsome response to a question

      asking the Deputy Superintendent of Federal Programs for the Georgia

      Department of Education to identify any part of the GNETS Program

      that was being done effectively, in accordance with the GNETS Rule.

      Even in stating that “it’s just very difficult to answer your question”

      and suggesting that the department does not evaluate the effectiveness

      of the GNETS Program, Ms. Owen testified that the Department has

      “end-of-the-year data regarding student achievement” and that there are

      “certain components that GNETS have to fulfill relative to the grant.”

      Deposition of Shaun Owen 154:7-155:20.

135. The RESA/LEA is a flowthrough for state and federal funds to the individual

      GNETS Programs. Deposition of Haley Livingston at 75:18-25; Deposition

      of Cassandra Holifield at 49:18-50:4; 50:11-12.

      RESPONSE: Denied. As an initial matter, it is unclear what is meant by

      the term “flowthrough” and what significance that term has with respect to

      the United States’ claims. It is undisputed that LEAs and RESAs serve as

      fiscal agents for the regional GNETS programs. See Livingston Dep. at

      75:18-25 (“our Georgia and federal funds come through [the RESA]”);

      Deposition of Cassandra Holifield 49:20-50:4 (fiscal agent “oversee[s] all of
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      our funding that flows from the State and the federal level” and “maintain[s]

      all of the funding and make sure that it’s spent the way it’s supposed to be

      spent”).

136. The fiscal agent receives funds from GaDOE and has the responsibility for

      appropriately accounting for the expenditure of those funds. Deposition of

      Clara Keith Brown at 31:2-6.

      RESPONSE: Denied as incomplete. Regional GNETS programs must

      also submit their program budgets to GaDOE and have those budgets

      approved by GaDOE. GNETS Rule at ¶ (5)(a) (GNETS Rule charges

      SEA with approving program budgets); see also Ex. 1, Def. Resp. to RFA

      No. 25; Deposition of Cassandra Holifield 104:10-106:18; Deposition of

      Amber McCollum 107:4-109:8; 214:9-15.

137. The funding for GNETS is held for reimbursement after the GNETS

      programs have made certain expenditures. Deposition of Geronald Bell at

      34:19-22.

      RESPONSE: Denied as incomplete to the extent the State suggests that

      fiscal agents and regional GNETS programs have exclusive control over

      how to spend the GNETS grant funds. While it is undisputed that the

      fiscal agents manage the grant funds for the regional GNETS programs,

      each regional GNETS program must have its budget approved by the

      State. GNETS Rule at ¶ (5)(a) (GNETS Rule charges SEA with
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  approving program budgets); see also Ex. 1, Def. Resp. to RFA No. 25;

  Deposition of Cassandra Holifield 104:10-106:18; Deposition of Amber

  McCollum 107:4-109:8; 214:9-15. Some expenditures require approval

  by the State even after the funds have been turned over to the fiscal

  agent. See, e.g., Deposition of Whitney Braddock Dep. at 25:25-26:11

  (certain program purchases need approval through GaDOE); Deposition

  of Amber McCollum 206:20-209:7 (State denied regional GNETS

  program and LEA authority to use program funds to make purchase

  designed to help get GNETS students into the community).




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138. The GNETS Program submits requests or purchase orders to the fiscal agent

      for approval and to receive payment. Deposition of Cassandra Holifield at

      50:16-51:13.

      RESPONSE: Denied as incomplete to the extent the State suggests that

      fiscal agents and regional GNETS programs have exclusive control over

      how to spend the GNETS grant funds. While it is undisputed that the fiscal

      agents manage the grant funds for the regional GNETS programs, each

      regional GNETS program must have its budget approved by the State.

      GNETS Rule at ¶ (5)(a) (GNETS Rule charges SEA with approving

      program budgets); see also Ex. 1, Def. Resp. to RFA No. 25; Deposition of

      Cassandra Holifield 104:10-106:18; McCollum Dep. 107:4-109:8; 214:9-

      15. Some expenditures require approval by the State even after the funds

      have been turned over to the fiscal agent. See, e.g., Braddock Dep. at

      25:25-26:11 (certain program purchases need approval through GaDOE);

      McCollum Dep. at 206:20-209:7 (State denied regional GNETS program

      and LEA authority to use program funds to make purchase designed to help

      get GNETS students into the community).

139. In Fiscal Year 2024, State funds represented 82% of the total appropriation

      of $65,427,745. Defendant’s Statement of Undisputed Material Facts, Ex. S

      at 105–06.

      RESPONSE: Undisputed that page 108 of Ex. S shows that the amount
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      listed as “Total State Funds” for the GNETS Program in Fiscal Year 2024

      constitutes 82.7% of the amount listed as “Total Public Funds” for the

      GNETS Program in Fiscal Year 2024.

140. GNETS grant funding is driven by enrollment. Deposition of Vickie

      Cleveland at 266:14-17.

      RESPONSE: Denied as incomplete. GNETS grant funding, in

      accordance with the State’s GNETS funding formula, is driven by

      the weighted student count and T&E earnings. E.g., Deposition of

      Geronald Bell 140:6-141:13.

141. The GNETS population is consistently trending down. Deposition of Vickie

      Cleveland at 88:13-19.

      RESPONSE: Denied as incomplete. While it is undisputed that total

      number of students in the GNETS Program has declined in the period

      between school year 2015 and school year 2022, See the number of

      students in some regional GNETS programs has increased. McCart Report

      at 14, and Figure B.

142. The GNETS grant has accordingly trended down each year. See generally,

      Defendant’s Statement of Undisputed Material Facts, Exhibits K through T.

      RESPONSE: Denied. The cited evidence does not support the fact asserted.

      The State portion of the initial appropriations for the GNETS Program

      increased between at least FY2016 and FY2017, between FY2021 and
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  FY2022, and between FY2022 and FY2023. In addition, there were increases

  between the initial and amended appropriations for at least FY2016, FY2018,

  FY2021, and FY2022. Last, there were increases in the portions of the

  GNETS Program funding that came from the federal discretionary IDEA

  funding from FY2015 to FY2016, FY2017 to FY2018, and FY2019 to

  FY2020. As a result, there were increases in total appropriations for the

  GNETS Program from FY2015 to FY2016, from FY2016 to FY2017, from

  FY2017 to FY2018, from FY2019 to FY2020, from FY2021 to FY2022, and

  from FY2022 to FY2023. See United States Statement of Material Facts 117.

  citing H.B. 76, 153rd Gen. Assemb., Reg. Sess. (see p. 93 at 134.100) (Ga.

  2015); H.B. 751, 153rd Gen. Assemb., Reg. Sess. (see p. 54 at 24.9) (Ga.

  2016); H.B. 44, 154th Gen. Assemb., Reg. Sess. (see p. 96 at 142.100) (Ga.

  2017); H.B. 684, 154th Gen. Assemb., Reg. Sess. (see p. 50 at 24.10) (Ga.

  2018); H.B. 31, 155th Gen. Assemb., Reg. Sess. (see p. 100 at 146.100) (Ga.

  2019); H.B. 793, 155th Gen. Assemb., Reg. Sess. (see p. 63 at 24.9) (Ga.

  2020); H.B. 81, 156th Gen. Assemb., Reg. Sess. (see p. 80 at 142.100) (Ga.

  2021); H.B. 911, 156th Gen. Assemb., Reg. Sess. (see p. 65 at 24.8) (Ga.

  2022); H.B. 19, 157th Gen. Assemb., Reg. Sess. (see p. 105 at 151.100) (Ga.

  2023).




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143. Grants are not mandatory. There is no evidence that LEAs and RESAs are

      required to apply for the GNETS grant.

      RESPONSE: Undisputed. The Court may consider this evidence for

      purposes of the summary judgment motion.

144. The grant application requirements and assurances are the same for all

      programs. Deposition of Vickie Cleveland at 250:24-251:6; 251:12-14.

      RESPONSE: Undisputed. The Court may consider this evidence for

      purposes of the summary judgment motion.

145. The grant does not include language that provides for termination if

      noncompliance by the GNETS Program is found. Deposition of Vickie

      Cleveland at 255:16-21.

      RESPONSE: Denied in part. When asked whether the grant

      included language that provides for termination of funding on the

      grounds of noncompliance, Cleveland testified “not that I’m aware

      of,” but did not conclusively state “no.” Deposition of Vickie

      Cleveland 255:16-21. However, according to a former member of the

      State Board of Education, the State has the authority—and has

      exercised its authority—to put a pause on regional GNETS programs’

      funding when those programs fail to comply with their

      responsibilities. Deposition of Larry Winter 166:5-168:8.



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146. Scores such as the GAA and GAA 2.0 do not impact funding. Deposition of

      Vickie Cleveland at 266:14-17.

      RESPONSE: Undisputed. The Court may consider this evidence for

      purposes of the summary judgment motion.

147. The fiscal agent and regional GNETS Program enter into assurances for the

      therapeutic services grant. See, Plaintiff’s Ex. 120; Deposition of Lakesha

      Stevenson at 145:4-12; 144:17-20.

      RESPONSE: Undisputed. The Court may consider this evidence for

      purposes of the motion for summary judgment.

148. There are no assurances between the GNETS Programs and GaDOE.

      Deposition of Lakesha Stevenson at 145:13-15.

      RESPONSE: Denied. Ms. Stevenson acknowledged that there are

      assurances between the regional GNETS programs and GaDOE

      built into the grant application. Deposition of Lakesha Stevenson

      145:13-20. In addition, the regional GNETS programs provide

      assurances to GaDOE in connection with additional grant funds for

      therapeutic services. Exs. 118, 120, 126-128; Deposition of Brooke

      Cole 278:7-280:14; Deposition of Clara Keith 140:8-143:5, 153:7-

      155:6; Deposition of Jacqueline Neal 80:6-83:8; Deposition of

      Patricia Wolf 141:6-144:2, 144:19-145:19, 147:13-149:2. Finally,

      Letters of Assurance are also included when regional GNETS
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      programs seek approval from GaDOE to move to another site. Ex.

      105; Deposition of Michael Rowland 111:21-116:9.

149. Grants to GNETS Programs are awarded to the fiscal agents as the Grant

      Recipient, not the GNETS Programs. See Plaintiff’s Exs. 114-116.

      RESPONSE: Undisputed. The Court may consider this evidence for

      purposes of summary judgment.

150. Eleven programs receive the need-based therapeutic grant. Deposition of

      Vickie Cleveland at 105:3-5.

      RESPONSE: Denied as incomplete. The number of programs

      receiving the reimbursement from their fiscal agent for therapeutic

      services through the therapeutic grant has varied by year. For example,

      in FY20 (8/1/19-8/31/20), the funding went to the fiscal agent for 11

      GNETS programs. Ex. 116. However, in FY18, funding went to the

      fiscal agents for 10 programs. See Ex. 124

151. The LEAs are reimbursed by the therapeutic services subgrant for funds the

      LEAs used on the social worker position. Plaintiff’s Ex. 116.

      RESPONSE: Denied as incomplete.

152. The therapeutic services grant is a subgrant. Deposition of Vickie Cleveland

      at 150:8-11.

      RESPONSE: Denied. Through their fiscal agents, regional GNETS

      programs that receive grant funds for such therapeutic services must
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      provide the State with various assurances, including that they will procure

      the therapeutic staff providing such services through a staffing agency

      approved by GaDOE. Exs. 118, 120, 126; Deposition of Clara Keith 140:8-

      143:5, 153:7-155:6; Deposition of Jacqueline Neal 80:6-83:8.

153. The fiscal agent decides to enter into an agreement with a provider, reviews

      the provider agreement, and “make[s] any adjustments that [the fiscal agent]

      deemed (sic) to be necessary. Including statements related to the contractors

      (sic) liability for this service.” Plaintiff’s Ex. 118.

      RESPONSE: Denied as inaccurate and incomplete. The cited evidence

      states that the fiscal agent may “decide[] to enter into an agreement with a

      GaDOE approved provider.” Plaintiff’s Ex. 118 (emphasis added). “The

      fiscal agent may receive a reimbursement from GaDOE for the provision of

      clinical therapeutic related services only when entering into an agreement

      with a GaDOE approved provider.” Id.




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154. The GNETS Program Specialist completes a year end summary of social

      worker logs submitted for the therapeutic services grant, including things

      such as the average number of students who receive support and the most

      common types of support received. Deposition of Lakesha Stevenson at

      70:2-17.

      RESPONSE: Undisputed. The Court may consider this evidence for

      purposes of the summary judgment motion.

155. Neither she nor the GNETS Program Manager take any action or make any

      suggestions based on the summary. Deposition of Lakesha Stevenson at

      70:9-17.

      RESPONSE: Denied as incomplete. Vickie Cleveland testified that she

      may have “follow up conversations” with the regional GNETS program if

      questions arise related to the logs. See Deposition of Vickie Cleveland

      107:22-108:25. However, the documents utilized by the State during the

      grant approval process require that monitoring by GaDOE take place

      following the dispensation of grant funding; this step is required with or

      without regard to Stevenson’s summary. See Deposition of Larry Winter

      175:23-177:3.

      XI.   Additional Material Facts Regarding Facility Conditions
            Assessment

156. Code Section 20-2-16(c) provides that “the Board is authorized to inspect

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      any public school building and, if such building is found to be dangerous to

      the lives or health of the pupils, to notify the county or independent board of

      education in writing of the unsafe or unhealthful conditions revealed,

      including in the notification specific suggestions for the correction of such

      unsafe or unhealthful conditions.”

      RESPONSE: Denied as inaccurate. Georgia Code Section 20-2-16(c)

      provides that “the state board is authorized to inspect any public school

      building and, if such building is found to be dangerous to the lives or health

      of the pupils, to notify the county or independent board of education in

      writing of the unsafe or unhealthful conditions revealed, including in the

      notification specific suggestions for the correction of such unsafe or

      unhealthful conditions.”

157. The 2016 letter from the State Board of Education sent to the county

      superintendents for the nine impacted facilities described them as “unsafe

      and unhealthful.” Plaintiff’s Ex. 100 at GA01486055.

      RESPONSE: Denied as inaccurate and incomplete. The cited letter is

      written to the chairman of a county board of education, not a county

      superintendent. See Plaintiff’s Ex. 100 at GA01486055. The letter

      describes one of the nine impacted facilities as “a facility where children

      cannot continue to be served.” Plaintiff’s Ex. 100 at GA01486055. It

      subsequently notes that the State Board of Education has “found unsafe
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      and unhealthful conditions” at the facility. Id.

158. The State Board of Education wrote to the impacted county superintendents

      that it was “suggesting that you remedy this deficiency by collaborating with




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     key stakeholders” to relocate children to a different facility. Plaintiff’s Ex.

     100 at GA01486055.

     RESPONSE: Denied as inaccurate and incomplete. The cited letter is

     written to the chairman of a county board of education, not a county

     superintendent. In the letter, the State Board of Education writes that it is

     “suggesting that you remedy this deficiency by collaborating with key

     stakeholders, including your local school superintendent, GNETS

     director, RESA director (if appropriate), and your local board attorney.”

     Plaintiff’s Ex. 100 at GA01486055. In the letter’s immediately preceding

     paragraph, the State Board of education writes that the facility at issue

     “has been identified as a facility where children cannot continue to be

     served. Therefore, students receiving services at this facility must

     immediately be transitioned out of this site before the beginning of the

     school year.” Id.

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RYAN K. BUCHANAN                         KRISTEN CLARKE
United States Attorney                   Assistant Attorney General
Northern District of Georgia
                                         SHAHEENA A. SIMONS
/s/ Aileen Bell Hughes                   Chief
AILEEN BELL HUGHES
GA Bar Number: 375505                    KELLY GARDNER WOMACK
Assistant United States Attorney         Deputy Chief
United States Department of Justice
Richard B. Russell Federal Building      ANDREA HAMILTON
75 Ted Turner Dr. SW, Suite 600          WATSON
Atlanta, GA 30303-3309                   Special Litigation Counsel
(404) 581.6000
aileen.bell.hughes@usdoj.gov             CRYSTAL ADAMS
                                         CLAIRE D. CHEVRIER
                                         FRANCES S. COHEN
                                         MATTHEW GILLESPIE
                                         PATRICK HOLKINS
                                         VICTORIA M. LILL
                                         JESSICA POLANSKY
                                         LAURA C. TAYLOE
                                         MICHELLE L. TUCKER
                                         Trial Attorneys
                                         Educational Opportunities Section

                                         /s/ Kelly Gardner Womack
                                         U.S. Department of Justice
                                         Civil Rights Division
                                         950 Pennsylvania Avenue, NW
                                         Washington, DC 20530
                                         kelly.gardner@usdoj.gov

                                         Attorneys for the United States




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                          L.R. 7.1(D) CERTIFICATION

        I certify that this Statement of Undisputed Material Facts has been prepared

with one of the font and point selections approved by the Court in Local Rule

5.1(C). Specifically, this brief has been prepared using 14-pt Times New Roman

Font.



                                                /s/ Kelly Gardner Womack
                                                KELLY GARDNER WOMACK




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                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the foregoing document with the

Clerk of Court using the CM/ECF system, which automatically sent counsel of

record e-mail notification of such filing.

                                             This 27th day of November, 2023.



                                             /s/ Kelly Gardner Womack
                                             KELLY GARDNER WOMACK




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